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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 26, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53215     JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

01/01/2013     AMP     Attention to status of Cerberus privilege review.          L320        2.20 hrs
                       Review certain documents in Cerberus production
                       to address questions from Mr. Barthel and Mr.
                       Phillips regarding privilege determinations.
01/01/2013     AMP     Review legal origination charts and e-mail from            L120        0.30 hrs
                       Ms. Hamzehpour (Residential Capital) for
                       purposes of attorney affiliation memorandum.
01/01/2013     EPH     Post-coding quality check for Jones batch 1.               L110        0.40 hrs


01/01/2013     GNM     Performing second level review on Renzi 20 batch           L320        6.50 hrs
                       as outlined in the Quality Control Protocol.

01/01/2013     GNM     Performing quality control on production set               L320        3.10 hrs
                       01/02/13.

01/01/2013     MJB     Perform quality control on a batch of documents            L320        6.80 hrs
                       previously reviewed by contract attorneys.

01/01/2013     HLB     Perform quality control examiner review of Renzi           L120        3.60 hrs
                       batch .005 per quality control examiner protocol.

01/02/2013     AMP     Red-line edits to attorney affiliation memorandum.         L210        0.30 hrs
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01/02/2013   AMP    Review and respond to e-mails with Ms. Battle,        L120     0.40 hrs
                    Ms. Marty, and Mr. Phillips regarding Mr. Aretakis
                    not being part of the legal department.
01/02/2013   AMP    Review documents regarding Mr. Aretakis' role.        L320     0.60 hrs


01/02/2013   AMP    Review prior privilege logs regarding Mr. Aretakis'   L320     0.30 hrs
                    role.

01/02/2013   AMP    Review e-mail from Mr. Glick (Kirkland & Ellis)       L120     0.10 hrs
                    regarding status of getting documents to them for
                    review and additional logging.
01/02/2013   AMP    Respond to e-mail from Mr. Glick (Kirkland &          L120     0.20 hrs
                    Ellis) regarding status of getting documents to
                    them for review and additional logging.
01/02/2013   AMP    Follow up with Ms. Marty regarding status of          L120     0.20 hrs
                    document transfer to Kirkland & Ellis.

01/02/2013   AMP    Attention to privilege review of Cerberus             L320     1.80 hrs
                    documents specifically identified by privilege
                    review team for additional review.
01/02/2013   AMP    Attention to privilege and professional eyes only     L320     1.90 hrs
                    review of Lazard Phase 2 documents.

01/02/2013   AMP    Review multiple e-mails with Ms. Battle, client       L120     0.70 hrs
                    and Morrison & Foerster team regarding attorney
                    affiliation memorandum.
01/02/2013   JAL    Review interview summary memos for ResCap             L120     2.00 hrs
                    employees to assist in preparation of upcoming
                    witnesses (1.80). Review and respond to e-mails
                    regarding examiner interview schedule and
                    preparation coverage.
01/02/2013   JES    Research additional documents potentially useful      L120     7.00 hrs
                    for Pensabene deposition preparation. (6.90)
                    Conference with Mr. Beck regarding same. (.10)
01/02/2013   RBS    Download Examiner interview memos into U-drive        L310     0.30 hrs
                    from Sharepoint for Mr. Beck.

01/02/2013   JALB   Prepare for document collection meeting.              L120     0.30 hrs


01/02/2013   JALB   Discussion with Mr. Corcoran regarding document       L120     0.20 hrs
                    collection meeting.

01/02/2013   JALB   Review status of global document collection and       L320     0.40 hrs
                    production efforts.
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01/02/2013   JALB   Revise draft "attorney affirmations" chart.              L120     1.80 hrs


01/02/2013   JALB   Correspondence with counsel for Ally (Mr.                L120     0.20 hrs
                    Powell) regarding "attorney affiliation" chart.

01/02/2013   JALB   Telephone conference with Residential Capital            L120     0.70 hrs
                    clients (Ms. Hamzehpour, Mr. Thompson, Ms.
                    Delehey and others) regarding "attorney
                    affiliation" chart prepared at Examiner request.
01/02/2013   JALB   Telephone conference with Ms. Hamzehpour                 L120     0.40 hrs
                    (Residential Capital) regarding collection of paper
                    documents for Examiner review.
01/02/2013   DJB    Perform second level quality check of documents          L120     6.40 hrs
                    received from Cerberus (batch 20121205) coded
                    by first level contract reviewers as not privileged to
                    assist Morrison Foerster with productions to the
                    Examiner.
01/02/2013   DJB    Perform second level quality check of documents          L120     4.00 hrs
                    received from Cerberus (batch 20121212) coded
                    by first level contract reviewers as not privileged to
                    assist Morrison Foerster with productions to the
                    Examiner.
01/02/2013   MMM    Review of documents relating to sale of GMAC             L120     4.20 hrs
                    Bank. (2.70) Draft corresponding section of
                    outline for Neary interview preparation. (1.50)
01/02/2013   MMM    Review of documents relating to sale of ResMor           L120     4.70 hrs
                    and draft corresponding section of outline for
                    Neary Examiner interview preparation. (4.10)
                    Conference with Mr. Beck regarding Neary
                    outline. (.40) Conference with Ms. Battle
                    regarding same. (.20)
01/02/2013   DAB    Conference with Ms. Mohler regarding issues for          L120     0.40 hrs
                    Neary preparation.

01/02/2013   DAB    Conference with Ms. Mohler and Ms. Battle                L120     0.20 hrs
                    regarding issues for Neary preparation.

01/02/2013   DAB    Conference with Mr. Sechler regarding issues for         L120     0.10 hrs
                    interview of Mr. Pensabene.

01/02/2013   DAB    Analyze new materials provided by Morrison &             L120     0.30 hrs
                    Forester.

01/02/2013   DAB    E-mail Mr. Day (Morrison & Foerster) regarding           L120     0.10 hrs
                    coordination on future examiner interview
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                    preparations.
01/02/2013   DAB    Conference with Ms. Battle regarding preparations   L120     0.40 hrs
                    for upcoming examiner interviews.

01/02/2013   JRC    Review Mr. Ruckdaschel's files in Discovery         L140     0.60 hrs
                    Partner in order to produce his files to the
                    examiner.
01/02/2013   JRC    E-mail exchange with Ms. Zellman (Residential       L190     0.10 hrs
                    Capital) regarding delivery of Mr. Ruckdaschel's
                    scanned files to EED.
01/02/2013   SP     Review documents marked as privileged and           L320     1.30 hrs
                    provide descriptions for Cerberus privilege log.

01/02/2013   SP     Research background of Mr. Aretakis and discuss     L320     0.60 hrs
                    related privilege issues with Ms. Paul Whitfield.

01/02/2013   GNM    Performing quality control review on production     L320     2.50 hrs
                    set 01/02/13.

01/02/2013   GNM    Researching in Discovery Partner database to        L320     0.60 hrs
                    clarify scope of employment of James Aretakis.

01/02/2013   GNM    Working in Discovery Partner database answering     L320     0.60 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/02/2013   GNM    Drafting and sending e-mail communications to       L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/02/13.
01/02/2013   GNM    Drafting and sending e-mail communication to Ms.    L120     0.70 hrs
                    Battle regarding production metrics.

01/02/2013   AJM    Draft e-mail to Ms. Gulley (DTI) to ask for         L120     0.20 hrs
                    information concerning technical issues with
                    examiner privilege logs raised by Mr. Schwinger.
01/02/2013   SCM    Quality control review of Renzi 007 document set.   L320     3.70 hrs


01/02/2013   MJB    Perform quality control on Stenger batch 3          L320     5.10 hrs
                    previously reviewed by contract attorneys.

01/02/2013   HLB    Perform quality control examiner review of Renzi    L120     3.90 hrs
                    batch 005 per quality control examiner protocol.

01/03/2013   AMP    Attention to privilege review of Cerberus           L320     1.10 hrs
                    documents for common interest with Rescap from
                    November production.
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01/03/2013   AMP    Attention to production of documents deemed not     L320     0.40 hrs
                    privileged and getting potential Ally privilege
                    documents to Kirkland & Ellis from December 5th
                    production.
01/03/2013   AMP    E-mails with Ms. Marty regarding production of      L320     0.30 hrs
                    documents deemed not privileged and getting
                    potential Ally privilege documents to Kirkland &
                    Ellis from December 5th production.
01/03/2013   AMP    Attention to revising and reviewing privilege log   L320     2.10 hrs
                    for ResCap's 110/111 productions.

01/03/2013   AMP    Review specific documents identified by Mr.         L320     1.70 hrs
                    Molnar as not privileged and/or needing
                    heightened privilege review.
01/03/2013   JAL    Conference with Mr. Beck regarding interview        L120     1.10 hrs
                    schedule and preparation for interviews (.30).
                    Participate on part of conference call with Mr.
                    Ilovsky and Mr. Day (Morrison & Foerster) and
                    Mr. Beck to discuss same (.40). Review e-mails
                    regarding same (.20). Review and respond to
                    e-mails regarding same (.10). Review and respond
                    to e-mails regarding Mr. Pensabene's preparation
                    (.10).
01/03/2013   JES    Complete document review and draft Pensabene        L120     7.00 hrs
                    preparation outline. (6.80) Conference with Mr.
                    Beck regarding preparations for upcoming
                    examiner interview. (1.20)
01/03/2013   TKI    Review e-mail documents for quality control         L120     3.10 hrs
                    purposes for Spindel 003 batch.

01/03/2013   JALB   Meet with Ms. Hamzehpour (Residential Capital)      L120     1.50 hrs
                    regarding scope of paper files responsive to
                    Examiner document requests.
01/03/2013   JALB   Review paper files responsive to Examiner           L120     2.80 hrs
                    document requests.

01/03/2013   JALB   Meet with Mr. Abreu (Residential Capital)           L120     0.20 hrs
                    regarding scope of paper files responsive to
                    Examiner document requests.
01/03/2013   JALB   Correspondence with Mr. Salerno and Mr. Brown       L120     0.30 hrs
                    (both Morrison & Foerster) regarding scope of
                    collection of Ms. Hamzehpour's paper files.
01/03/2013   MMM    Review documents in which Mr. Neary was             L120     3.70 hrs
                    involved in correspondence.

01/03/2013   MMM    Review documents relating to the Model Home         L120     4.60 hrs
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                    Sale. (2.40) Draft corresponding section of Neary
                    preparation outline. (2.00) Conference with Mr.
                    Beck regarding preparations for upcoming
                    examiner interview. (.20)
01/03/2013   DAB    Communicate with Mr. Ziegler (Morrison &             L120     0.10 hrs
                    Forester) regarding preparation materials for
                    deposition of Mr. Cancelliere in RMBS and
                    preparations for examiner interview of Mr.
                    Cancelliere.
01/03/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.20 hrs
                    for January interviews by examiner.

01/03/2013   DAB    Conference with Ms. Mohler regarding                 L120     0.20 hrs
                    preparations for upcoming examiner interviews.

01/03/2013   DAB    Conference with Mr. Sechler regarding                L120     0.20 hrs
                    preparations for upcoming examiner interviews.

01/03/2013   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &           L120     0.50 hrs
                    Foerster) and Mr. Lipps (parts) regarding
                    coordination of preparations for upcoming
                    examiner interviews.
01/03/2013   DAB    Review and analyze Morrison & Foerster notes         L330     1.40 hrs
                    from previous examiner interviews.

01/03/2013   DAB    Review documents for examiner preparation of Mr.     L330     3.10 hrs
                    Pensabene.

01/03/2013   DAB    Revise Pensabene preparation outline.                L330     1.80 hrs


01/03/2013   JRC    Review deposition testimony of Ms. Hamzehpour        L140     2.40 hrs
                    in order to prepare to review her hard copy files.

01/03/2013   JRC    Review hard copy files of Ms. Hamzehpour in          L140     5.50 hrs
                    order to respond to requests for production from
                    the bankruptcy examiner.
01/03/2013   JRC    Conferences with Ms. Battle regarding review of      L190     0.40 hrs
                    hard copy files of Ms. Hamzehpour.

01/03/2013   SP     Review documents marked as privileged and            L320     3.40 hrs
                    provide descriptions for Cerberus privilege log.

01/03/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.50 hrs
                    Battle regarding production metrics.
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01/03/2013   GNM    Working in Discovery Partner database answering       L320     2.40 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/03/2013   GNM    Telephone communications with Ms. Gulley and          L120     0.70 hrs
                    Mr. Shipler (DTI) regarding load files for Cerberus
                    data.
01/03/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.30 hrs
                    regarding Cerberus data.

01/03/2013   GNM    E-mail communications with Mr. Glick (Kirkland        L120     0.10 hrs
                    & Ellis) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.40 hrs
                    (Schulte Roth) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.20 hrs
                    regarding new data load.

01/03/2013   GNM    E-mail communications with Mr. Langenkamp             L120     0.10 hrs
                    (Kirkland & Ellis) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.60 hrs
                    regarding corrupt date/time metadata.

01/03/2013   SCM    Quality control review of Renzi 007 document set.     L320     2.30 hrs


01/03/2013   MJB    Perform quality control on a Stenger batch 3          L320     3.80 hrs
                    previously reviewed by contract attorneys.

01/04/2013   AMP    Attention to further edits to attorney affiliation    L320     0.30 hrs
                    chart.

01/04/2013   AMP    Conference call with Mr. Brown (Morrison &            L320     0.30 hrs
                    Foerster) regarding Lazard document issues.

01/04/2013   AMP    Review e-mail from Mr. Child (Chadbourne)             L320     0.10 hrs
                    regarding encrypted Lazard documents.

01/04/2013   AMP    Multiple e-mails with Morrison & Foerster review      L320     0.40 hrs
                    team and Ms. Battle regarding further edits to
                    attorney affiliation chart.
01/04/2013   AMP    Attention to responding to privilege questions from   L320     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    Lazard documents.
01/04/2013   JAL    Review Carpenter Lipps & Leland and Morrison          L120     2.00 hrs
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                    Foerster preparation outlines for Mr. Pensabene's
                    interview (.50). Conference with Mr. Beck
                    regarding revisions to same (.10). Review Mr.
                    Pensabene's documents (.50). Review and respond
                    to e-mails regarding examiner interview schedule
                    (.20). Review Ally's submission to examiner
                    regarding third-party claims (.50). Conferences
                    with Ms. Battle regarding same (.20).
01/04/2013   JES    Finalize Pensabene interview preparation outline.      L120     3.00 hrs
                    (2.90) Communicate with Mr. Beck regarding
                    same. (.10)
01/04/2013   JES    Review prior interview summaries and additional        L120     3.00 hrs
                    documents for use in drafting Abreu and Giertz
                    outlines and updating Flees outline.
01/04/2013   JES    Begin review of potential documents for Abreu          L120     2.00 hrs
                    interview preparation outline and notebook.

01/04/2013   RBS    Upload Mr. Pensabene Interview Preparation Kit to      L310     0.30 hrs
                    Sharepoint for Mr. Beck.

01/04/2013   JALB   Correspondence with Mr. Schwinger (Chadbourne          L120     0.20 hrs
                    & Parke) regarding completion of attorney
                    responsibilities memorandum.
01/04/2013   JALB   Telephone conference with Mr. Salerno (Morrison        L120     0.50 hrs
                    & Foerster) regarding completion of attorney
                    responsibilities memorandum.
01/04/2013   JALB   Correspondence with counsel for Ally (Mr. Glick)       L120     0.20 hrs
                    regarding completion of attorney responsibilities
                    memorandum.
01/04/2013   JALB   Discussion with Ms. Marty regarding status of          L120     0.40 hrs
                    quality control of documents to be produced to
                    Examiner.
01/04/2013   JALB   Various discussions with in-house counsel              L120     0.90 hrs
                    regarding fact-checking of attorney responsibilities
                    chart. (.70) Discuss with Mr. Lipps Ally's
                    submission to examiner on third party claims. (.20)
01/04/2013   DJB    Format privilege law, indicating specific reasons      L120     4.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner and Mr. Serrano.
01/04/2013   DJB    Perform second level quality check of documents        L120     3.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
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                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/04/2013   MMM    Review documents and continue drafting Neary         L120     3.50 hrs
                    preparation outline.

01/04/2013   MMM    Telephone conference with Mr. Day (Morrison &        L120     0.30 hrs
                    Foerster) and Mr. Beck regarding Neary interview
                    preparation.
01/04/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/04/2013   DAB    Revise examiner interview preparation outline for    L330     2.60 hrs
                    Mr. Pensabene.

01/04/2013   DAB    Communicate with Mr. Sechler regarding               L120     0.10 hrs
                    additional information needed to finalize examiner
                    interview preparation outline for Mr. Pensabene.
01/04/2013   DAB    Call with Mr. Day and Mr. Serrano (Morrison &        L120     0.30 hrs
                    Foerster) and Ms. Mohler regarding coordinating
                    research on items for interview of Mr. Neary.
01/04/2013   DAB    Comment on draft Neary outline.                      L330     0.70 hrs


01/04/2013   SP     Review documents marked as privileged and            L320     4.60 hrs
                    provide descriptions for Cerberus privilege log.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.60 hrs
                    regarding creation of Reserve subproject to review
                    data from April 2012.
01/04/2013   GNM    Communicate with Mr. Corcoran regarding review       L120     0.20 hrs
                    of Hamzehpour paper documents.

01/04/2013   GNM    Communicate with Mr. Corcoran regarding review       L120     0.10 hrs
                    of Ruckdaschel paper documents.

01/04/2013   GNM    Updating weekly production status report for Ms.     L320     1.30 hrs
                    Battle.

01/04/2013   GNM    Drafting and sending e-mail communication to Ms.     L120     0.60 hrs
                    Shank (Residential Capital) regarding additional
                    Board Material requests.
01/04/2013   GNM    Meeting with Ms. Battle regarding production         L120     0.30 hrs
                    metrics.
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01/04/2013   GNM    Configuring new data for review.                     L320     2.70 hrs


01/04/2013   GNM    Working in Reserves database reviewing emails        L320     1.60 hrs
                    from April 2012 time period for specific reference
                    to reserve levels.
01/04/2013   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.50 hrs
                    regarding corrupt date/time metadata.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.20 hrs
                    regarding Reserves database annotation pane
                    configuration.
01/04/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    review team regarding new data.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.10 hrs
                    regarding export of native document.

01/04/2013   GNM    E-mail communications with Mr. Sechler               L120     0.30 hrs
                    regarding export of native document.

01/04/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding MBIA v. RFC data.

01/04/2013   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.40 hrs
                    Legal) regarding staffing levels.

01/04/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Klun (Lumen Legal) regarding staffing levels.

01/04/2013   SCM    Quality control review of Renzi 007 document set.    L320     1.20 hrs


01/04/2013   MJB    Perform quality control on Dondzilla batch 11        L320     5.90 hrs
                    previously reviewed by contract attorneys.

01/05/2013   GNM    Exchanging e-mail communications with Mr. Beck       L120     0.30 hrs
                    regarding reserves data.

01/05/2013   ABW    Document review regarding quality control,           L140     3.60 hrs
                    Paradis2 007.

01/06/2013   JAL    Review Mr. Pensabene's documents to prepare for      L120     1.50 hrs
                    interview.

01/06/2013   MNB    Prepare talking points for Ms. Levitt (Morrison &    L120     3.70 hrs
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                    Foerster) regarding investor and monoline insurer
                    third-party claims.
01/06/2013   JES    Review memoranda regarding prior Examiner           L120     4.00 hrs
                    interviews of current and former ResCap
                    personnel.
01/06/2013   TKI    Review e-mail documents for quality control         L120     2.30 hrs
                    purposes for Spindel 003 batch.

01/06/2013   MMM    Review documents and begin draft of outline for     L120     1.50 hrs
                    Marple interview preparation.

01/06/2013   GNM    E-mail communications with Ms. Sheyngarts           L120     0.10 hrs
                    (Contract Reviewer) regarding privilege coding.

01/06/2013   AEG    Document review regarding quality control           L140     2.20 hrs
                    (second level) on Olson batch 14 making sure
                    privileged and coding are properly done.
01/06/2013   ABW    Document review regarding quality control,          L140     0.80 hrs
                    Paradis2 007.

01/07/2013   AMP    Attention to Examiner's request to interview Mr.    L120     0.20 hrs
                    Pohl (Lazard).

01/07/2013   AMP    Review notes of documents involving Mr. Pohl.       L320     0.30 hrs


01/07/2013   AMP    E-mail exchange with Mr. Phillips regarding         L320     0.20 hrs
                    documents involving Mr. Pohl.

01/07/2013   JAL    Review Mr. Pensabene's documents to prepare for     L120     4.30 hrs
                    meeting with Mr. Pensabene (2.5). Review and
                    revise outline to prepare Mr. Pensabene for
                    interview (1.0). Review debtors' response to
                    submission by SUNS/JSNS (.50). E-mail Mr.
                    Beck regarding same (.20). Review analysis of
                    swap issues (.10).
01/07/2013   VLS    Update document review quality control charts.      L320     2.20 hrs
                    (1.70) Meet with Ms. Marty regarding new
                    document loads. (.50)
01/07/2013   VLS    Monitor review status of document review team.      L320     0.80 hrs


01/07/2013   VLS    Assignment of document review batches to            L320     0.40 hrs
                    document review team members.
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01/07/2013   VLS    Update document review status chart.                      L320     2.40 hrs


01/07/2013   VLS    Monitor review status of document review quality          L320     1.40 hrs
                    control team.

01/07/2013   VLS    Assignment of document review quality control             L320     1.10 hrs
                    batches to quality control team members.

01/07/2013   VLS    Update document review status chart with new              L320     0.80 hrs
                    custodians.

01/07/2013   VLS    E-mail exchange with Discovery Partner support            L320     0.30 hrs
                    regarding document reviews on Ms. Mohler's
                    account.
01/07/2013   JES    Revise Flees Examiner interview preparation               L120     2.00 hrs
                    outline.

01/07/2013   JES    Review Board minutes and related documents in             L120     6.00 hrs
                    preparation for preparing Abreu Examiner
                    interview preparation outline.
01/07/2013   RBS    Download Mr. Pensabene documents from                     L310     0.70 hrs
                    Sharepoint requested by Mr. Beck.

01/07/2013   EPH    Post-coding quality check for Jones batch 1.       A104   L110     0.20 hrs


01/07/2013   TKI    Review e-mail documents for quality control               L120     1.40 hrs
                    purposes for Applegate 10 batch.

01/07/2013   JALB   Meet with new quality control reviewer.                   L120     0.50 hrs


01/07/2013   JALB   Attention to quality control staffing issues.             L120     0.40 hrs


01/07/2013   JALB   Discussion with Ms. Marty regarding new quality           L120     0.50 hrs
                    control reviewer. (.30) E-mails with Ms. Marty
                    regarding production schedule. (.20)
01/07/2013   DJB    Finish second level quality check of documents            L120     4.30 hrs
                    received from Cerberus (batch 20121205) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/07/2013   MMM    Review documents and draft outline for Mr.                L120     6.40 hrs
                    Marple's Examiner interview.
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01/07/2013   DAB    Conference with Ms. Mohler regarding issues for     L120     0.20 hrs
                    interview of Mr. Marple.

01/07/2013   JRC    Conference with Ms. Paul Whitfield regarding        L120     0.10 hrs
                    privilege log for examiner.

01/07/2013   JRC    Review, analyze, and code hard-copy documents       L320     0.30 hrs
                    of Mr. Ruckdaschel in response to requests from
                    the bankruptcy examiner.
01/07/2013   SP     Review documents marked as privileged and           L320     0.90 hrs
                    provide descriptions for Cerberus privilege log.

01/07/2013   SP     Confer with Ms. Paul Whitfield regarding items      L120     0.40 hrs
                    relating to Mr. Pohl.

01/07/2013   GNM    Conduct new reviewer training.                      L320     2.70 hrs


01/07/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.30 hrs
                    metrics.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.60 hrs
                    Ms. Battle regarding timing for remaining
                    productions in response to Mr. Schwinger's
                    (Chadborne) e-mail of 1/7/13.
01/07/2013   GNM    Meeting with Ms. Sholl regarding new data load.     L120     0.50 hrs


01/07/2013   GNM    Exchanging e-mail communications with Ms. Klun      L120     0.50 hrs
                    (Lumen Legal) regarding staffing levels and
                    training schedule.
01/07/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.30 hrs
                    regarding new user training.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Mr. Hoelzel (Contract Reviewer) regarding quality
                    control protocols.
01/07/2013   GNM    Performing quality control checks on the            L320     0.40 hrs
                    EXAM134/135 productions.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM134/135.
01/07/2013   GNM    E-mail communication with Ms. Cericola (Contact     L120     0.10 hrs
                    Reviewer) regarding new data.
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01/07/2013   GNM    Working in Cerberus database configuring data for      L320     0.80 hrs
                    production.

01/07/2013   GNM    Working in Discovery Partner database answering        L320     0.70 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/07/2013   GNM    Telephone communications with Morrison Foerster        L120     0.60 hrs
                    team regarding re-review of documents previously
                    withheld for regulatory privilege.
01/07/2013   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    quality control team members regarding quality
                    control protocols.
01/07/2013   SCM    Quality control review of Renzi 007 document set.      L320     1.50 hrs


01/07/2013   MJB    Perform quality control on Dondzilla batch 11 of       L320     5.90 hrs
                    documents previously reviewed by contract
                    attorneys.
01/07/2013   HLB    Perform quality control examiner review of batch       L120     5.20 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/07/2013   AEG    Document review regarding quality control              L140     4.30 hrs
                    (second level) making sure privileged and coding
                    are properly done.
01/07/2013   LWS    Participate in training regarding document review      L110     2.00 hrs
                    protocol.

01/08/2013   AMP    Review e-mail from Mr. Phillips regarding Mr.          L320     0.20 hrs
                    Pohl's (Lazard) documents for Examiner interview.

01/08/2013   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)        L320     0.40 hrs
                    regarding Mr. Pohl's.

01/08/2013   AMP    E-mails with Ms. Battle regarding Mr. Cave's           L120     0.20 hrs
                    inquiries and scheduling a call with them to discuss
                    privilege issues.
01/08/2013   AMP    Review e-mail from Lazard's counsel regarding 24       L320     0.30 hrs
                    encrypted documents and access of same.

01/08/2013   AMP    Review final attorney affiliation memorandum.          L320     0.20 hrs


01/08/2013   AMP    Review e-mails to Examiner's counsel regarding         L320     0.10 hrs
                    final attorney affiliation memorandum.
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01/08/2013   AMP    Attention to revising privilege log for 110/111     L320     0.90 hrs
                    production.

01/08/2013   AMP    Attention to reviewing specific documents in        L320     2.20 hrs
                    112/113 production to determine privilege issues.

01/08/2013   AMP    E-mails with Mr. Molnar regarding reviewing         L320     0.30 hrs
                    specific documents in 112/113 production to
                    determine privilege issues.
01/08/2013   AMP    Review and respond to e-mails with Mr. Brown        L320     0.20 hrs
                    regarding contact from former independent
                    directors' counsel regarding privilege issues.
01/08/2013   AMP    E-mails with Mr. Beck regarding independent         L120     0.20 hrs
                    director issues.

01/08/2013   AMP    Review GSE documents on privilege log and           L320     2.10 hrs
                    attention to clawback issues regarding GSE.

01/08/2013   AMP    Attention to privilege and professional eyes only   L320     0.30 hrs
                    review of Lazard documents.

01/08/2013   AMP    E-mails with Mr. Phillips and Mr. Brown             L320     0.20 hrs
                    (Morrison & Foerster) regarding privilege and
                    professional eyes only review of documents.
01/08/2013   JAL    Review and respond to e-mails regarding             L120     5.00 hrs
                    scheduling of interviews (.10). Review Mr.
                    Pensabene's documents to prepare for meeting with
                    Mr. Pensabene (.40). Conference with Ms. Levitt
                    (Morrison & Foerster) and Mr. Pensabene
                    (Residential Capital) to prepare for examiner
                    interview (3.8) Review recently located
                    documents regarding Ally Bank and strategy for it
                    (.20). Conference with Mr. Beck regarding same
                    (.10). Review examiner exhibits (.30). Review
                    e-mails regarding scheduling (.10).
01/08/2013   VLS    Monitor review status of document review team.      L320     0.90 hrs


01/08/2013   VLS    Assignment of document review batches to            L320     0.60 hrs
                    document review team members.

01/08/2013   VLS    Update document review status chart.                L320     1.10 hrs


01/08/2013   VLS    Monitor review status of document review quality    L320     0.70 hrs
                    control team.
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01/08/2013   VLS    Assignment of document review quality control        L320     0.40 hrs
                    batches to quality control team members.

01/08/2013   VLS    Update document review quality control charts.       L320     0.80 hrs


01/08/2013   VLS    Obtain document reviewers time cards and review      L320     1.60 hrs
                    for accuracy.

01/08/2013   VLS    Approve document reviewers time cards for            L320     0.40 hrs
                    payment.

01/08/2013   VLS    Update document review status chart with new         L320     1.30 hrs
                    custodians.

01/08/2013   JES    Research and locate additional potential documents   L120     8.00 hrs
                    for Abreu examiner preparation outline.

01/08/2013   JES    Review spreadsheet of Examiner interview exhibits    L120     1.50 hrs
                    and Illany and Mack interview summaries for use
                    in preparing and finalizing Flees, Abreu, and
                    Giertz preparation outlines. (1.40) Conference
                    with Mr. Beck regarding issues for interview of
                    Mr. Flees.
01/08/2013   TKI    Review e-mail documents for quality control          L120     1.70 hrs
                    purposes for Applegate 10 batch.

01/08/2013   JALB   Revise attorney affirmations chart and               L120     0.70 hrs
                    memorandum per input from Ally's counsel.

01/08/2013   JALB   Internal discussion regarding examiner interview     L120     0.40 hrs
                    process.

01/08/2013   JALB   Discuss examiner interview process with Mr.          L120     0.20 hrs
                    Lipps.

01/08/2013   JALB   Prepare memorandum to Morrison & Foerster            L120     0.40 hrs
                    regarding strategy for final e-mail productions to
                    Examiner.
01/08/2013   JALB   Prepare notes of examiner interview process.         L120     0.40 hrs


01/08/2013   JALB   Meet with Ms. Marty regarding strategy for final     L120     0.60 hrs
                    e-mail productions to Examiner. (.30) Analyze
                    strategy. (.30)
01/08/2013   JALB   Internal follow-up regarding strategy for final      L120     0.30 hrs
                    e-mail productions to Examiner.
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01/08/2013   DJB    Conduct second level quality check of documents    L120     3.80 hrs
                    received from Cerberus (batch 20121212) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/08/2013   MMM    Review documents for information that may be       L120     4.50 hrs
                    relevant to Mr. Marple's Examiner interview.

01/08/2013   MMM    Draft outline for Mr. Marple's preparation for     L120     4.10 hrs
                    Examiner interview.

01/08/2013   DAB    E-mail Ms. Marty regarding e-mails needing to be   L120     0.10 hrs
                    searched for.

01/08/2013   DAB    Conference with Mr. Day (Morrison & Foerster)      L120     0.10 hrs
                    regarding review of third party productions.

01/08/2013   DAB    Conference with Mr. Sechler regarding issues for   L120     0.10 hrs
                    examiner interview of Mr. Flees.

01/08/2013   DAB    Review and analyze summaries of past examiner      L120     2.00 hrs
                    interviews of Residential Capital personnel.

01/08/2013   DAB    Research regarding assertion of bank examination   L120     0.40 hrs
                    privilege in FHFA litigation.

01/08/2013   DAB    Conference with Ms. Mohler regarding e-mails of    L120     0.20 hrs
                    Mr. Marple.

01/08/2013   DAB    Conference with Mr. Philips regarding analysis     L120     0.10 hrs
                    needed on 2006 board minutes.

01/08/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding issues   L120     0.20 hrs
                    from presentations by Rescap employees to
                    Mesirow that are relevant for future examiner
                    interviews.
01/08/2013   DAB    Research regarding additional documents            L330     0.30 hrs
                    requested by Mr. Lipps for preparations for
                    examiner interview of Mr. Pensabene.
01/08/2013   SP     Review documents marked as privileged and          L320     5.10 hrs
                    provide descriptions for Cerberus privilege log.

01/08/2013   SP     Review board and audit committee materials from    L320     2.20 hrs
                    2005 and 2006 and update the minute books.
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01/08/2013   SP     Research documents relating to Mr. Pohl for Ms.     L120     0.70 hrs
                    Paul Whitfield.

01/08/2013   GNM    Drafting e-mail communications to be sent to Ms.    L120     0.20 hrs
                    Shank (Residential Capital) regarding board
                    material requests.
01/08/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.30 hrs
                    metrics.

01/08/2013   GNM    New reviewer training.                              L320     2.80 hrs


01/08/2013   GNM    E-mail communications with Ms. Gulley (DTI)         L120     0.20 hrs
                    regarding non-email data load.

01/08/2013   GNM    Meeting with Ms. Diem (Contract Reviewer)           L120     0.30 hrs
                    regarding review of non-e-mail data.

01/08/2013   GNM    Working in Relativity database to gather            L320     0.60 hrs
                    documents at the request of Mr. Lipps.

01/08/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.10 hrs
                    regarding new user training.

01/08/2013   GNM    Working in Discovery Partner database answering     L320     2.30 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/08/2013   GNM    Working in Cerberus database configuring data for   L320     1.60 hrs
                    production.

01/08/2013   MJB    Perform quality control on Dondzilla batch 11       L320     6.70 hrs
                    previously reviewed by contract attorneys.

01/08/2013   HLB    Perform quality control examiner review of batch    L120     4.70 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/08/2013   LWS    Discovery partner software training.                L110     1.00 hrs


01/09/2013   AMP    Review e-mails from Morrison & Foerster and Ms.     L120     0.10 hrs
                    Battle regarding final attorney affiliations
                    memorandum.
01/09/2013   AMP    Attention to Cerberus privilege log issues.         L320     0.90 hrs


01/09/2013   AMP    E-mails with Mr. Barthel regarding Cerberus         L320     0.30 hrs
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                    privilege log issues.

01/09/2013   AMP    Attention to 24 Lazard documents that need             L320     0.40 hrs
                    privilege and professional eyes only review after
                    encryption issue resolved.
01/09/2013   AMP    Review e-mails from Mr. Phillips regarding 24          L320     0.20 hrs
                    Lazard documents that need privilege and
                    professional eyes only review after encryption
                    issue resolved.
01/09/2013   AMP    Telephone call to Mr. Wyland (Bryan Cave)              L120     0.20 hrs
                    regarding privilege issues involving former
                    independent directors.
01/09/2013   AMP    Conference with Ms. Battle regarding privilege         L120     0.20 hrs
                    issues involving former independent directors.

01/09/2013   AMP    Review specific documents identified by Mr.            L320     0.50 hrs
                    Wyland (Bryan Cave) for privilege.

01/09/2013   AMP    Draft e-mail regarding specific documents              L320     0.30 hrs
                    identified by Mr. Wyland (Bryan Cave) for
                    privilege.
01/09/2013   JAL    Meeting with Mr. Pensabene (Residential Capital)       L120     9.50 hrs
                    to prepare for examiner interview (1.0). Participate
                    at examiner interview (7.2). Review and respond
                    to e-mails regarding Mr. Pensabene's interview
                    (.20). Draft summary of same (1.0). Review and
                    respond to e-mails regarding examiner interviews
                    and preparation coverage (.10).
01/09/2013   VLS    Monitor review status of document review team.         L320     0.80 hrs


01/09/2013   VLS    Assignment of document review batches to               L320     0.70 hrs
                    document review team members.

01/09/2013   VLS    Update document review status chart.                   L320     1.20 hrs


01/09/2013   VLS    Monitor review status of document review quality       L320     0.60 hrs
                    control team.

01/09/2013   VLS    Assignment of document review quality control          L320     0.80 hrs
                    batches to quality control team members.

01/09/2013   VLS    Update document review quality control charts.         L320     1.30 hrs
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01/09/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.30 hrs
                    Salahaddin regarding error on time card entry.

01/09/2013   JES    Draft Abreu examiner preparation outline.             L120     7.00 hrs


01/09/2013   JALB   Finalize and circulate attorney responsibilities      L120     1.80 hrs
                    chart at request of Examiner's counsel.

01/09/2013   MMM    Review documents and draft outline for Mr.            L120     6.50 hrs
                    Marple's Examiner interview.

01/09/2013   MMM    Conference with Mr. Beck regarding Mr. Bier           L120     0.20 hrs
                    Examiner interview preparation.

01/09/2013   DAB    Research regarding Marano e-mails relevant to         L120     0.20 hrs
                    future examiner interviews.

01/09/2013   DAB    Review and analyze documents relevant to              L330     2.50 hrs
                    examiner interview of Mr. Flees.

01/09/2013   DAB    Revise interview preparation outline for Mr. Flees.   L330     4.90 hrs


01/09/2013   DAB    Conference with Ms. Mohler regarding issues for       L120     0.20 hrs
                    examiner interview of Mr. Bier.

01/09/2013   JRC    Review and analyze documents sent by Ms.              L320     0.60 hrs
                    Zellman (Residential Capital) in order to produce
                    documents in response to requests from the
                    bankruptcy examiner.
01/09/2013   JRC    Review, analyze, and code hard-copy documents         L320     3.70 hrs
                    of Mr. Ruckdaschel in Discovery Partner for
                    production to the examiner.
01/09/2013   JRC    Conference with Ms. Marty regarding coding of         L120     0.10 hrs
                    hard-copy documents from Mr. Ruckdaschel.

01/09/2013   SP     Update board and audit committee meeting charts       L320     1.80 hrs
                    to include meeting attendees from 2005 and 2006
                    for Mr. Beck.
01/09/2013   GNM    Conduct regulatory Privilege training.                L320     0.60 hrs


01/09/2013   GNM    Edit Regulatory Privilege memorandum.                 L320     0.80 hrs
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01/09/2013   GNM    Performing quality control on production set         L320     1.20 hrs
                    01/08/13.

01/09/2013   GNM    Performing quality control on production set         L320     1.10 hrs
                    01/09/13.

01/09/2013   GNM    Working in Cerberus database configuring data for    L320     2.10 hrs
                    production.

01/09/2013   GNM    Working in the Subservicing database locating        L320     0.30 hrs
                    documents for witness preparation.

01/09/2013   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.20 hrs
                    regarding custom privilege log reports.

01/09/2013   GNM    Working in Discovery Partner database answering      L320     2.30 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/08/13.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/09/13.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Gulley (DTI) submitting Cerberus documents
                    for production.
01/09/2013   GNM    E-mail communications with Mr. Day (Morrison &       L120     0.30 hrs
                    Foerster) regarding Regulatory Privilege training
                    session.
01/09/2013   GNM    Editing e-mail response to be sent to Mr.            L120     0.60 hrs
                    Schwinger (Chadbourne).

01/09/2013   GNM    Creating and sending e-mail communications to        L120     0.20 hrs
                    Mr. Salerno and Mr Day (Morrison & Foerster)
                    regarding items withheld for Regulatory Privilege.
01/09/2013   GNM    Drafting and sending e-mail to Mr. Baldock           L120     0.20 hrs
                    (Morrison & Foerster) regarding quality control
                    protocol.
01/09/2013   AJM    Review ResCap/Ally attorney charts submitted to      L120     0.40 hrs
                    the Examiner for use in drafting privilege logs.

01/09/2013   SCM    Quality control review of Renzi 007 document set.    L320     1.30 hrs


01/09/2013   MJB    Perform quality control on Donzilla batch 33         L320     5.40 hrs
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                    previously reviewed by contract attorneys.

01/09/2013   HLB    Perform quality control examiner review of batch    L120     4.90 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/09/2013   AEG    Post-Coding quality checks for ResCap               L140     4.30 hrs
                    bankruptcy.

01/09/2013   LWS    Perform quality control review of Gess batch 9.     L140     1.00 hrs


01/10/2013   AMP    Attention to Cerberus privilege review issues.      L320     0.50 hrs


01/10/2013   AMP    Attention to privilege logging for December 5th     L320     1.10 hrs
                    production.

01/10/2013   AMP    Attention to privilege logging for December 12th    L320     1.30 hrs
                    production.

01/10/2013   AMP    E-mails with Mr. Barthel and Mr. Phillips           L320     0.40 hrs
                    regarding privilege logging for December 12th
                    production.
01/10/2013   AMP    Attention to follow-up on Lazard privilege          L320     0.30 hrs
                    documents.

01/10/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)        L320     0.20 hrs
                    regarding Lazard privilege documents.

01/10/2013   AMP    Attention to clawback issues from documents         L320     0.30 hrs
                    identified by Ally involving Marple memorandum.

01/10/2013   AMP    E-mails with Ms. Battle regarding clawback issues   L320     0.20 hrs
                    from documents identified by Ally involving
                    Marple memorandum.
01/10/2013   AMP    Attention to confirming status of Mr. Aretakis as   L320     0.10 hrs
                    outside of legal department.

01/10/2013   AMP    Review e-mail from client regarding Mr. Aretakis.   L120     0.10 hrs


01/10/2013   AMP    Further review of privilege logs in light of        L320     0.40 hrs
                    distinction on Mr. Aretakis' role throughout the
                    years.
01/10/2013   AMP    Multiple e-mails with Ms. Battle, Ms. Marty and     L120     0.30 hrs
                    Mr. Molnar regarding Mr. Aretakis.
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01/10/2013   VLS    Monitor review status of document review team.      L320        0.80 hrs


01/10/2013   VLS    Assignment of document review batches to            L320        1.10 hrs
                    document review team members.

01/10/2013   VLS    Update document review status chart.                L320        0.80 hrs


01/10/2013   VLS    Monitor review status of document review quality    L320        0.60 hrs
                    control team.

01/10/2013   VLS    Assignment of document review quality control       L320        0.40 hrs
                    batches to quality control team members.

01/10/2013   VLS    Update document review quality control charts.      L320        0.90 hrs


01/10/2013   JES    Review documents for potential use in Giertz        L120        5.00 hrs
                    outline. (4.70) Conference with Mr. Beck and Ms.
                    Mohler regarding issues for upcoming examiner
                    interview. (.30)
01/10/2013   JES    Finalize Flees outline and notebook exhibits.       L120        2.00 hrs


01/10/2013   JES    Research additional consent-order-related           L120        3.00 hrs
                    documents for use in Abreu outline.

01/10/2013   RBS    Download all interviewee exhibits to U-Drive for    L310        1.30 hrs
                    Mr. Beck.

01/10/2013   TKI    Review e-mail documents for quality control         L120        0.60 hrs
                    purposes for Applegate 10 batch.

01/10/2013   JALB   Attention to privilege and clawback issues and      L120        0.40 hrs
                    discussion with Ms. Paul Whitfield and Ms. Marty
                    regarding same.
01/10/2013   MMM    Continue outline for Mr. Marple's preparation for   L120        0.40 hrs
                    interview with the Examiner.

01/10/2013   MMM    Begin review of documents in Discovery Partner      L120        1.00 hrs
                    for items that may be relevant to Mr. Bier's
                    Examiner interview. (.80) Conference with Mr.
                    Sechler and Mr. Beck regarding issues for
                    upcoming interview. (.20)
01/10/2013   DAB    Conference with Mr. Corcoran regarding              120         0.10 hrs
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                    additional materials needed for interview
                    preparations for Mr. Abreu.
01/10/2013   DAB    Conference with Mr. Lipps regarding issues for      L120     0.40 hrs
                    upcoming examiner interviews.

01/10/2013   DAB    E-mail Mr. Sechler regarding likely issues for      L120     0.20 hrs
                    interview of Mr. Abreu.

01/10/2013   DAB    Review and comment on draft Abreu examiner          L330     0.60 hrs
                    preparation outline.

01/10/2013   DAB    Analyze key documents for examiner interview of     L330     1.10 hrs
                    Mr. Abreu.

01/10/2013   DAB    Analyze key exhibits used by examiner in recent     L330     1.30 hrs
                    interviews.

01/10/2013   DAB    Conference with Mr. Sechler and Ms. Mohler          L120     0.30 hrs
                    regarding issues for upcoming examiner
                    interviews.
01/10/2013   GNM    Working in the Subservicing database locating       L320     0.20 hrs
                    documents for witness preparation.

01/10/2013   GNM    Working in the Discovery Partner database           L320     2.70 hrs
                    locating documents for witness preparation.

01/10/2013   GNM    Working in the Cerberus database created redacted   L320     1.30 hrs
                    images to be sent for production.

01/10/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Ms. Battle regarding timing for remaining
                    productions.
01/10/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.10 hrs
                    regarding native files.

01/10/2013   GNM    Exchanging e-mail communications with Mr.           L120     0.60 hrs
                    Molnar regarding scope of employment of James
                    Aretakis.
01/10/2013   GNM    Researching in Discovery Partner database to        L320     0.40 hrs
                    clarify employment scope of James Aretakis.

01/10/2013   AJM    Review ResCap/Ally attorney charts submitted to     L120     0.40 hrs
                    the Examiner for use in drafting privilege logs.

01/10/2013   AJM    Revise privilege log for sixth set of documents     L120     3.40 hrs
                    produced in response to Examiner document
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                    requests based on legal department organizational
                    charts.
01/10/2013   SCM    Quality control review of Renzi 007 document set.     L320     0.50 hrs


01/10/2013   MJB    Perform quality control on Donzilla batch 33          L320     8.20 hrs
                    previously reviewed by contract attorneys.

01/10/2013   HLB    Perform quality control examiner review of batch      L120     5.70 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/10/2013   HLB    Complete quality control examiner feedback form       L120     0.40 hrs
                    for batch Dondzila.024 per quality control
                    examiner protocol.
01/11/2013   AMP    E-mails with Mr. Phillips and Mr. Molnar              L320     0.30 hrs
                    regarding redaction of board minutes in our
                    production.
01/11/2013   AMP    Attention to Marple memorandum issues.                L210     0.30 hrs


01/11/2013   AMP    E-mails with Mr. Molnar regarding additional          L120     0.30 hrs
                    copies.

01/11/2013   AMP    Attention to clawback documents identified in all     L320     0.40 hrs
                    privilege logs to date.

01/11/2013   AMP    E-mail to Ms. Tice (Morrison & Foerster) and Mr.      L320     0.30 hrs
                    Brown (Morrison & Foerster) regarding
                    clawbacks.
01/11/2013   AMP    E-mails with Ms. Battle and Ms. Levitt (Morrison      L320     0.40 hrs
                    & Foerster) regarding Marple memorandum topic
                    and additional privileged documents.
01/11/2013   AMP    E-mails with Mr. Phillips and Mr. Barthel             L320     0.20 hrs
                    regarding status of Cerberus privilege review.

01/11/2013   AMP    Attention to scheduling call with Kirkland & Ellis    L320     0.20 hrs
                    and Cerberus' counsel regarding status of privilege
                    review.
01/11/2013   AMP    Attention to Mr. Aretakis' privilege issues.          L320     0.40 hrs


01/11/2013   AMP    E-mails with Ms. Battle, Mr. Molnar, and Mr.          L120     0.20 hrs
                    Brown (Morrison & Foerster) regarding Mr.
                    Aretakis.
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01/11/2013   AMP    Attention to 112/113 privilege log revisions.       L320     0.90 hrs


01/11/2013   AMP    Review additional documents identified by Mr.       L320     0.20 hrs
                    Wyland (Bryan Cave) regarding potential
                    privilege.
01/11/2013   AMP    Prepare response to Mr. Wyland (Bryan Cave).        L320     0.20 hrs


01/11/2013   AMP    E-mails with Ms. Battle regarding response to Mr.   L120     0.10 hrs
                    Wyland (Bryan Cave).

01/11/2013   AMP    Conference with Ms. Marty regarding Cerberus        L320     0.30 hrs
                    privilege review.

01/11/2013   JAL    Review analysis of sub-service agreement and        L120     0.50 hrs
                    Department of Justice settlement issues (.30).
                    Conference with Mr. Beck regarding claw back
                    issues (.10). Review and respond to e-mails
                    regarding interview schedule and preparation
                    coverage (.10).
01/11/2013   VLS    Assignment of document review batches to            L320     1.00 hrs
                    document review team.

01/11/2013   VLS    Update document review status chart.                L320     0.70 hrs


01/11/2013   JES    Revise Abreu outline. (2.70) Review and add         L120     4.00 hrs
                    additional exhibits for notebook. (1.30)

01/11/2013   JES    Begin drafting Giertz outline.                      L120     2.00 hrs


01/11/2013   RBS    Upload Mr. Flees Interview Preparation Kit to       L310     0.30 hrs
                    Sharepoint for Mr. Sechler.

01/11/2013   TKI    Review e-mail documents for quality control         L120     4.70 hrs
                    purposes for Dondzilla 026 batch.

01/11/2013   JALB   Follow-up discussion with Mr. Brown (Morrison &     L120     0.30 hrs
                    Foerster) and Ms. Paul-Whitfield regarding
                    privilege issues.
01/11/2013   JALB   Correspondence with Morrison & Foerster and         L120     0.80 hrs
                    Carpenter Lipps & Leland Examiner document
                    review teams regarding timing, planning and
                    deliverables for document production effort.
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01/11/2013   MMM    Begin draft of outline for Mr. Bier's preparation for   L120     2.80 hrs
                    his Examiner interview.

01/11/2013   MMM    Review documents in Discovery Partner for               L120     5.00 hrs
                    documents the Examiner may be interested in for
                    Mr. Bier's interview.
01/11/2013   DAB    E-mail Mr. Philips and Mr. Barthel regarding            L120     0.20 hrs
                    research needed on documents of Mr. Pohl.

01/11/2013   DAB    E-mail Ms. Marty regarding research needed on           L120     0.20 hrs
                    documents of Mr. Pohl.

01/11/2013   DAB    Conference with Mr. Day (Morrison & Foerster)           L120     0.10 hrs
                    regarding clawback issues related to Mr. Marple.

01/11/2013   DAB    Conference with Mr. Lipps regarding clawback            L120     0.10 hrs
                    issues related to Mr. Marple.

01/11/2013   JRC    E-mail exchanges regarding interview preparation        L120     0.10 hrs
                    materials for interviews with bankruptcy examiner.

01/11/2013   JRC    Conference with Ms. Paul Whitfield regarding            L120     0.20 hrs
                    coding of Mr. Ruckdaschel's hard copy files.

01/11/2013   JRC    Review and code Mr. Ruckdaschel's hard copy             L320     0.60 hrs
                    files in response to requests from examiner.

01/11/2013   SP     Research issues relating to press releases and SEC      L320     1.40 hrs
                    filings for Mr. Sechler.

01/11/2013   SP     Review documents marked as privileged and               L320     1.30 hrs
                    provide descriptions for Cerberus privilege log.
                    (1.00) Communicate with Ms. Marty regarding
                    same. (.30)
01/11/2013   SP     E-mails with Ms. Paul-Whitfield regarding               L120     0.80 hrs
                    redaction of redactions. (.40) E-mails with Ms.
                    Paul-Whitfield regarding Cerberus review. (.30)
                    Communicate with Ms. Paul-Whitfield regarding
                    issues related to Mr. Pohl's attendance at board
                    meeting. (.10)
01/11/2013   GNM    Telephone communications with Ms. Gardiner              L120     0.60 hrs
                    (Schulte Roth) regarding Cerberus data.

01/11/2013   GNM    Telephone communications with Mr. Barthel               L120     0.20 hrs
                    regarding Cerberus data.

01/11/2013   GNM    Telephone communications with Mr. Phillips              L120     0.30 hrs
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                    regarding Cerberus data.

01/11/2013   GNM    Meeting with Ms. Whitfield regarding Cerberus          L120     0.40 hrs
                    data.

01/11/2013   GNM    Working in Cerberus database configuring data for      L320     2.10 hrs
                    production.

01/11/2013   GNM    Drafting and sending e-mail communications to          L120     0.20 hrs
                    Ms. Gulley (DTI) regarding Cerberus productions
                    to be sent to Kirkland & Ellis.
01/11/2013   GNM    Working in Discovery Partner database answering        L320     2.20 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/11/2013   GNM    E-mail communications with Mr. Shipler (DTI)           L120     0.20 hrs
                    regarding new data load.

01/11/2013   GNM    Exchanging e-mail communications with Ms.              L120     0.30 hrs
                    Whitfield, Mr. Phillips, and Mr. Barthel regarding
                    Cerberus data.
01/11/2013   GNM    E-mail communications with Mr. Beck regarding          L120     0.10 hrs
                    Pohl documents needed for witness preparation.

01/11/2013   GNM    Drafting status memorandum regarding Cerberus          L120     0.60 hrs
                    data.

01/11/2013   AJM    Draft e-mail to Mr. Shipler of Discovery Partner       L120     0.20 hrs
                    regarding possible identification of "unspecified
                    sender" e-mails listed in privilege logs provided to
                    the Examiner.
01/11/2013   AJM    Search for 3/31/2008 e-mail from Tammy                 L120     0.30 hrs
                    Hamzehpour in Examiner database per request
                    from Ms. Paul-Whitfield.
01/11/2013   AJM    Revise privilege log for sixth set of documents        L120     5.00 hrs
                    produced in response to Examiner document
                    requests based on legal department organizational
                    charts.
01/11/2013   AJM    Review Examiner privilege logs for productions 1,      L120     0.50 hrs
                    4, & 5 to determine what items should be subject to
                    clawback.
01/11/2013   AJM    Search Examiner document Discovery Partner             L310     0.80 hrs
                    database to determine if other versions of
                    memorandum from Marple to Applegate, have
                    been wrongfully produced to Examiner.
01/11/2013   SCM    Quality control review of Renzi 007 documents.         L320     2.10 hrs
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01/11/2013   MJB    Perform quality control on Dondzilla batch 33          L320     4.80 hrs
                    previously reviewed by contract attorneys.

01/12/2013   AMP    E-mails with Ms. Marty regarding board minute          L320     0.40 hrs
                    productions to Examiner for purposes of
                    addressing Mr. Wyland's (Bryan Cave) privilege
                    questions.
01/12/2013   JAL    Review Mr. Neary's documents to prepare for            L120     1.50 hrs
                    interview.

01/12/2013   ABW    Document review regarding quality control,             L140     1.70 hrs
                    Paradis2 007.

01/12/2013   LWS    First level review of Gess batch 9 regarding           L140     5.00 hrs
                    ResCap bankruptcy.

01/13/2013   AMP    E-mails with Ms. Marty regarding production of         L320     0.20 hrs
                    certain minutes.

01/13/2013   AMP    Multiple e-mail exchanges regarding expediting         L320     0.60 hrs
                    production of those minutes to Examiner.

01/13/2013   AMP    Review e-mail from Mr. Ziegler (Morrison &             L320     0.20 hrs
                    Foerster) regarding production of certain minutes.

01/13/2013   AMP    Multiple e-mails with Ms. Marty and Mr. Brown          L120     1.00 hrs
                    (Morrison & Foerster) regarding copies of Marple
                    memorandum. (.70) E-mails with Mr. Philips
                    regarding privilege logs.
01/13/2013   JAL    Review Mr. Pohl's documents to prepare for call        L120     1.50 hrs
                    with Mr. Pohl's counsel regarding examiner
                    interview (1.0). Review e-mails regarding
                    preparation outline for call with Mr. Pohl's counsel
                    (.30). Review and respond to e-mails regarding
                    examiner interview summaries (.20).
01/13/2013   VLS    Assignment of document review batches to               L320     1.00 hrs
                    document review team.

01/13/2013   DJB    Finish second level quality check of documents         L120     5.80 hrs
                    received from Cerberus (batch 20121212) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/13/2013   MMM    Review documents and update outline for Mr.            L120     4.10 hrs
                    Bier's preparation for Examiner interview.
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01/13/2013   DAB    Review and comment on examiner interview              L330     1.90 hrs
                    outline for Mr. Marple.

01/13/2013   DAB    E-mail Ms. Battle regarding clawback issues           L120     0.20 hrs
                    related to Mr. Marple.

01/13/2013   SP     Review documents marked as privileged and             L320     1.90 hrs
                    provide descriptions for Cerberus privilege log.

01/13/2013   SP     Revise Cerberus privilege log.                        L320     1.80 hrs


01/13/2013   SP     Communicate with Ms. Paul Whitfield regarding         L120     0.20 hrs
                    privilege logs.

01/13/2013   GNM    Working in Discovery Partner database gathering       L320     4.50 hrs
                    Pohl documents for witness preparation.

01/13/2013   GNM    E-mail communication with Mr. Brown (Morrison         L120     0.20 hrs
                    & Foerster) regarding Board Material requests.

01/13/2013   GNM    Exchanging e-mail communications with Ms.             L120     0.60 hrs
                    Whitfield regarding document flagged for
                    clawback.
01/13/2013   AEG    Post-Coding quality checks for ResCap                 L140     2.00 hrs
                    bankruptcy/quality control feedback form filled out
                    and forward to first level attorney and Ms. Sholl
01/13/2013   ABW    E-mail Ms. Sholl regarding review assignment.         L190     0.10 hrs


01/13/2013   ABW    Document review regarding quality control,            L140     1.30 hrs
                    Paradis2 007.

01/13/2013   ABW    Prepare of quality control feedback form regarding    L140     0.20 hrs
                    Paradis2 007.

01/13/2013   LWS    First level review of Gess batch 9 regarding          L140     4.00 hrs
                    ResCap bankruptcy.

01/14/2013   AMP    E-mails with Mr. Phillips regarding privilege log     L320     0.20 hrs
                    for 11/20 Cerberus production.

01/14/2013   AMP    Review and respond to questions from Mr. Phillips     L320     0.60 hrs
                    regarding privilege issues in the 11/20 Cerberus
                    production.
01/14/2013   AMP    Attention to rescheduling call with Kirkland &        L320     0.30 hrs
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                    Ellis and Cerberus' counsel regarding status of
                    privilege review.
01/14/2013   AMP    Attention to issues regarding Marano and              L320     0.70 hrs
                    Lombardo in review of Cerberus' production and
                    impact on privilege determinations.
01/14/2013   AMP    E-mails with Mr. Phillips regarding review of         L320     0.30 hrs
                    Cerberus' production and impact on privilege
                    determinations.
01/14/2013   AMP    Attention to GSE issues impacting production of       L320     1.10 hrs
                    privilege log for production 110/111.

01/14/2013   AMP    Attention to GSE issues impacting production of       L320     0.90 hrs
                    privilege log for production 112/113.

01/14/2013   AMP    Attention to imaging issues to make redactions for    L320     0.70 hrs
                    documents tagged for supplemental production in
                    productions 110/111.
01/14/2013   AMP    Attention to imaging issues to make redactions for    L320     0.80 hrs
                    documents tagged for supplemental production in
                    productions 112/113.
01/14/2013   JAL    Review Mr. Pohl's documents to prepare for            L120     6.50 hrs
                    conference call with Mr. Pohl's counsel (.90).
                    Conference with Mr. Beck regarding same (.20).
                    Participate on conference call with Mr. Beck, Mr.
                    Ilovsky and Mr. Day (Morrison & Foerster) to
                    discuss interview issues (.50). Participate in call
                    with Mr. Pohl's counsel, Mr. Ilovsky, Mr. Day
                    (Morrison & Foerster) and Mr. Beck regarding
                    examiner interview of Mr. Pohl (.50). Review Mr.
                    Flees' documents to prepare for examiner interview
                    (2.0). Review Mr. Abreu's documents to prepare
                    for examiner interview (2.2). Review and respond
                    to e-mails regarding schedule for examiner
                    interview preparations (.20).
01/14/2013   VLS    Assignment of document review batches to              L320     2.80 hrs
                    document review team.

01/14/2013   VLS    Update document review status chart.                  L320     0.80 hrs


01/14/2013   VLS    Monitor review status of document review quality      L320     0.60 hrs
                    control team.

01/14/2013   VLS    Update document review quality control status         L320     1.80 hrs
                    charts.

01/14/2013   JES    Draft Giertz examiner preparation outline.            L120     8.00 hrs
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01/14/2013   RBS    Prepare set of Mr. Pohl documents for Mr. Lipps.      L310     0.80 hrs


01/14/2013   JALB   Telephone conference with Mr. Beck regarding          L120     0.20 hrs
                    preparation of witness preparation materials for
                    Marple and Cancelliere interviews.
01/14/2013   JALB   Telephone conference with Mr. Salerno (Morrison       L120     0.30 hrs
                    & Foerster) and Ms. Hamzehpour (Residential
                    Capital) regarding collection of documents at
                    Examiner request and confidentiality concerns.
01/14/2013   JALB   Follow-up telephone conference with Mr. Salerno       L120     0.20 hrs
                    (Morrison & Foerster) on document collection
                    issues.
01/14/2013   DJB    Perform second level quality check of documents       L120     3.30 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/14/2013   DJB    Format privilege law, indicating specific reasons     L120     5.20 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/14/2013   MMM    Continue to draft preparation outline and review of   L120     2.10 hrs
                    documents for Mr. Bier's Examiner interview.

01/14/2013   MMM    Continue to draft preparation outline and review of   L120     3.80 hrs
                    documents for Mr. Marple's Examiner interview.

01/14/2013   MMM    Attend conference call with Mr. Beck, Mr. Day,        L120     0.30 hrs
                    and Ms. Lowenburg (Morrison & Foerster) to
                    discuss Mr. Marple's interview.
01/14/2013   DAB    Conference with Ms. Mohler regarding                  L120     0.10 hrs
                    preparations for examiner interviews of Mr. Bier
                    and Mr. Marple.
01/14/2013   DAB    Conference with Ms. Marty regarding analysis of       L120     0.10 hrs
                    documents for Mr. Pohl.

01/14/2013   DAB    Draft analysis regarding key issues for examiner      L330     3.30 hrs
                    interview of Mr. Pohl.
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01/14/2013   DAB    Communicate with Mr. Lipps regarding issues for      L120     0.10 hrs
                    examiner interview of Mr. Pohl.

01/14/2013   DAB    Communicate with Mr. Salerno (Morrison &             L120     0.10 hrs
                    Foerster) regarding analysis of advisors on key
                    transactions.
01/14/2013   DAB    Communicate with Mr. Samson regarding                L120     0.10 hrs
                    materials for examiner interview of Mr. Pohl.

01/14/2013   DAB    E-mail Ms. Battle regarding examiner interview of    L120     0.10 hrs
                    Mr. Cancelliere.

01/14/2013   DAB    Multiple conferences with Ms. Mohler regarding       L120     0.20 hrs
                    key issues for Marple preparations.

01/14/2013   DAB    Call with Mr. Day, Ms. Lowenberg (Morrison &         L120     0.20 hrs
                    Foerster) and Ms. Mohler regarding preparations
                    for interview of Mr. Marple.
01/14/2013   DAB    E-mail Mr. Ilovsky and Mr. Day (Morrison &           L120     0.20 hrs
                    Foerster) regarding issues for examiner interview
                    of Mr. Pohl.
01/14/2013   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &           L120     0.50 hrs
                    Foerster) and Mr. Lipps regarding preparations for
                    examiner interview of Mr. Pohl.
01/14/2013   DAB    Conference call with counsel to Mr. Pohl, Mr.        L120     0.50 hrs
                    Ilovsky, Mr. Day (Morrison & Foerster) and Mr.
                    Lipps regarding preparations for examiner
                    interview of Mr. Pohl.
01/14/2013   DAB    Review and revise examiner preparation outline for   L330     3.10 hrs
                    Mr. Bier.

01/14/2013   SP     Review documents marked as privileged and            L320     4.60 hrs
                    provide descriptions for Cerberus privilege log.

01/14/2013   SP     Finalize part A of the Cerberus privilege log and    L320     1.60 hrs
                    share with Ms. Paul Whitfield.

01/14/2013   GNM    Working in Discovery Partner database gathering      L320     4.10 hrs
                    Pohl documents for witness preparation.

01/14/2013   GNM    Working in Discovery Partner database gathering      L320     1.30 hrs
                    relevant Board Materials for witness preparation.

01/14/2013   GNM    Drafting outline of relevant Board Materials for     L330     0.90 hrs
                    witness preparation.
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01/14/2013   GNM    Performing quality control checks on the              L320     0.60 hrs
                    EXAM205/206 productions.

01/14/2013   GNM    Working in Discovery Partner database                 L320     3.30 hrs
                    configuring data for production.

01/14/2013   GNM    Meeting with Ms Sholl regarding timing of             L120     0.60 hrs
                    remaining Phase 2 and Phase 3 productions.

01/14/2013   GNM    E-mail communications with new members of             L120     0.20 hrs
                    quality control team regarding training.

01/14/2013   GNM    E-mail communications with Mr. Day (Morrison &        L120     0.10 hrs
                    Foerster) regarding Regulatory Privilege training.

01/14/2013   GNM    Drafting and sending e-mail communications to         L120     0.50 hrs
                    review team members regarding Regulatory
                    Privilege review training.
01/14/2013   GNM    E-mail communications with Ms. Klun (Lumen            L120     0.10 hrs
                    Legal) regarding staffing levels

01/14/2013   GNM    Telephone communications with Ms. Klun (Lumen         L120     0.30 hrs
                    Legal) regarding staffing levels.

01/14/2013   AJM    Revise privilege log for sixth set of documents       L120     4.80 hrs
                    produced in response to Examiner document
                    requests based on legal department organizational
                    charts.
01/14/2013   AJM    Revise privilege log for set 110/111 produced in      L120     2.70 hrs
                    response to Examiner document requests, based on
                    legal department organizational charts.
01/14/2013   AJM    Draft privilege log for documents produced in         L310     0.10 hrs
                    response to Examiner document requests, set
                    114/115.
01/14/2013   HLB    Perform quality control examiner review of batch      L120     3.90 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/14/2013   AEG    Post-Coding quality checks of Legal Custodians        L140     6.00 hrs
                    007 for ResCap bankruptcy/quality control
                    feedback form filled out and forward to first level
                    attorney and Ms. Sholl.
01/14/2013   ABW    E-mail from Ms. Sholl regarding assignment.           L190     0.10 hrs


01/15/2013   AMP    Telephone conference with Kirkland & Ellis and        L320     0.50 hrs
                    Cerberus' counsel regarding status of privilege
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                    logging, supplemental productions, etc.
01/15/2013   AMP    Attention to legal department structure prior to       L120     0.30 hrs
                    2008.

01/15/2013   AMP    E-mails with Ms. Battle regarding legal department     L120     0.20 hrs
                    structure prior to 2008.

01/15/2013   AMP    Prepare proposed response to Examiner's counsel        L120     0.40 hrs
                    regarding privilege basis for Marple memorandum
                    and common interest with Ally.
01/15/2013   AMP    E-mails with Mr. Phillips regarding Lombardo           L320     0.30 hrs
                    issues impacting privilege determinations in
                    Cerberus documents.
01/15/2013   AMP    Review e-mail from Mr. Brown (Morrison &               L320     0.20 hrs
                    Foerster) regarding documents from Orrick seeking
                    privilege determinations.
01/15/2013   AMP    E-mails with Mr. Molnar and Mr. Phillips               L320     0.10 hrs
                    regarding comparing the treatment in our
                    productions of the same documents for consistency
                    purposes.
01/15/2013   AMP    Attention to finalizing privilege log for production   L320     1.50 hrs
                    112/113.

01/15/2013   AMP    E-mail exchanges with Mr. Molnar regarding             L320     0.20 hrs
                    privilege log for production 114/115.

01/15/2013   AMP    Attention to preparing report from Discovery           L320     0.90 hrs
                    Partner to create log for production 116/117.

01/15/2013   AMP    Attention to GSE determinations for production         L320     0.60 hrs
                    110/111.

01/15/2013   AMP    E-mails with Ms. Marty and Mr. Molnar regarding        L320     0.30 hrs
                    GSE determinations for production 110/111.

01/15/2013   AMP    Review document from subservicing production           L320     0.70 hrs
                    identified in Examiner interview that had been
                    requested to be clawed back.
01/15/2013   AMP    E-mails with Mr. Molnar and Ms. Marty regarding        L320     0.40 hrs
                    privileged document.

01/15/2013   AMP    Multiple e-mail exchanges with Ms. Battle and          L120     0.80 hrs
                    Morrison & Foerster team regarding Marple
                    memorandum, Solomon, and common interest with
                    Ally.
01/15/2013   AMP    Review documents from Orrick.                          L320     0.90 hrs
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01/15/2013   AMP    Compare Orrick documents with the treatment in        L320     0.20 hrs
                    our productions of the same documents for
                    consistency purposes.
01/15/2013   AMP    Attention to reviewing e-mail from Ms. Childs         L320     0.20 hrs
                    (Chadbourne) regarding additional Lazard
                    documents which were encrypted.
01/15/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.20 hrs
                    regarding additional Lazard documents which were
                    encrypted.
01/15/2013   AMP    Multiple e-mails with Mr. Brown (Morrison &           L320     0.80 hrs
                    Foerster) regarding documents from Orrick seeking
                    privilege determinations.
01/15/2013   JAL    Review Mr. Abreu's documents to prepare for           L120     6.30 hrs
                    interview preparation session (2.1). Review and
                    redraft interview preparation outline (.50). Review
                    and redraft supplemental sub-servicing preparation
                    outline (.90). Review Mr. Flees' documents to
                    prepare for interview preparation session (1.3).
                    Review and redraft interview preparation outline
                    (1.0). Conference with Mr. Beck regarding same
                    (.30). Review and respond to e-mails regarding
                    Mr. Flees' interview (.20).
01/15/2013   VLS    Monitor review status of document review team.        L320     0.60 hrs


01/15/2013   VLS    Assignment of document review batches to              L320     1.10 hrs
                    document review team members.

01/15/2013   VLS    Update document review status chart.                  L320     0.80 hrs


01/15/2013   VLS    Monitor review status of document review quality      L320     0.40 hrs
                    control team.

01/15/2013   VLS    Assignment of document review quality control         L320     0.60 hrs
                    batches to quality control team members.

01/15/2013   VLS    Update document review quality control charts.        L320     0.80 hrs


01/15/2013   VLS    Obtain document reviewers time cards and review       L320     2.40 hrs
                    for accuracy.

01/15/2013   VLS    Approve document reviewers time cards for             L320     0.60 hrs
                    payment.
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01/15/2013   VLS    E-mail exchange with document reviewer Mr.           L320     0.30 hrs
                    Albuseiri regarding time card entry.

01/15/2013   VLS    E-mail exchange with document reviewer Ms.           L320     0.30 hrs
                    Williams regarding time card entry.

01/15/2013   VLS    Conference with Ms. Marty regarding status of        L320     0.40 hrs
                    Phase 2 document review.

01/15/2013   JES    Attend telephone strategy conference with            L120     1.00 hrs
                    Morrison & Foerster regarding upcoming
                    Examiner interviews. (.50) Conference with Mr.
                    Beck and Ms. Mohler regarding strategy for
                    upcoming interviews. (.20) Conference with Mr.
                    Beck regarding Flees interview. (.20)
01/15/2013   JES    Review additional Abreu documents uploaded by        L120     2.00 hrs
                    Morrison & Foerster.

01/15/2013   JES    Review additional potential Giertz preparation       L120     1.00 hrs
                    exhibits.

01/15/2013   RBS    Prepare notebooks of Mr. Flees' SEC filings for      L310     0.50 hrs
                    Mr. Lipps.

01/15/2013   RBS    Prepare Interview Exhibit spreadsheets requested     L310     0.30 hrs
                    by Mr. Beck.

01/15/2013   DJB    Perform second level quality check of documents      L120     4.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/15/2013   DJB    Format privilege law, indicating specific reasons    L120     5.20 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/15/2013   MMM    Continue drafting and reviewing documents for        L120     4.70 hrs
                    Mr. Marple's preparation for Examiner interview.

01/15/2013   MMM    Continue drafting and reviewing documents for        L120     1.20 hrs
                    Mr. Bier's preparation for Examiner interview.
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01/15/2013   MMM    Conference with Mr. Beck and Mr. Sechler              L120     0.70 hrs
                    regarding interview preparation binders. (.20) Call
                    with Mr. Day, Mr. Serrano, Ms. Lowenberg
                    (Morrison & Foerster), Mr. Sechler and Mr. Beck
                    to discuss status of preparations for upcoming
                    interview. (.50)
01/15/2013   DAB    E-mail Mr. Day regarding preparations for             L120     0.20 hrs
                    upcoming examiner interviews.

01/15/2013   DAB    E-mail Ms. Mohler regarding materials from prior      L120     0.10 hrs
                    interview preparations relevant to Mr. Marple.

01/15/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)        L120     0.20 hrs
                    regarding issues for upcoming examiner
                    interviews.
01/15/2013   DAB    Review and comment on Flees outline.                  L330     0.50 hrs


01/15/2013   DAB    Research regarding securities filings signed by Mr.   L120     0.90 hrs
                    Flees.

01/15/2013   DAB    Prepare for call with Mr. Day and Morrison            L120     0.20 hrs
                    Foerster team regarding preparations for remaining
                    January examiner interviews.
01/15/2013   DAB    Conference with Mr. Sechler and Ms. Mohler            L120     0.10 hrs
                    regarding issues for remaining January examiner
                    interviews.
01/15/2013   DAB    Call with Mr. Day, Mr. Serrano and Ms.                L120     0.50 hrs
                    Lowenberg (Morrison & Foerster), Mr. Sechler
                    and Ms. Mohler regarding issues for remaining
                    examiner interviews.
01/15/2013   DAB    Conference with Mr. Sechler regarding Morrison        L120     0.10 hrs
                    & Foerster materials for Mr. Flees interview.

01/15/2013   JRC    E-mail exchange with Mr. Beck regarding               L190     0.10 hrs
                    examiner preparation materials.

01/15/2013   SP     Finalize Cerberus privilege log for custodian         L320     3.80 hrs
                    20121120 and send to Ms. Paul-Whitfield.

01/15/2013   SP     E-mails with Ms. Paul-Whitfield regarding process     L120     0.30 hrs
                    improvements for privilege log creation and
                    review, especially in regard to Cerberus
                    documents.
01/15/2013   GNM    Conduct regulatory Privilege training.                L320     0.50 hrs
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01/15/2013   GNM    Conduct new reviewer training.                       L320     3.10 hrs


01/15/2013   GNM    Exchanging e-mail communications with Mr.            L120     0.50 hrs
                    Shipler (DTI) regarding new user training.

01/15/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.40 hrs
                    Battle and Ms. Whitfield regarding particular
                    document that may need to be clawed back.
01/15/2013   GNM    Working in the Subservicing database locating        L320     0.30 hrs
                    particular document to determine if it needs to be
                    clawed back.
01/15/2013   GNM    Drafting and sending e-mail communication to Ms.     L120     0.60 hrs
                    Levitt (Morrison & Foerster) regarding particular
                    document that may need to clawed back.
01/15/2013   GNM    Telephone communications with Ms. Whitfield,         L120     0.80 hrs
                    Ms. Gardiner (Schulte Roth) and Mr. Glick
                    (Kirkland & Ellis) regarding Cerberus data.
01/15/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.50 hrs
                    (Schulte Roth) and Ms. Gulley (DTI) regarding
                    Cerberus data.
01/15/2013   GNM    Telephone communications with Mr. Langenkamp         L120     0.10 hrs
                    (Kirkland & Ellis) regarding Cerberus data.

01/15/2013   GNM    Working in Cerberus database configuring data for    L320     2.10 hrs
                    production.

01/15/2013   GNM    Working in Discovery Partner database                L320     2.80 hrs
                    configuring data for production.

01/15/2013   GNM    Performing quality control checks on productions     L320     0.30 hrs
                    EXAM205/206/136.

01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM205/206.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM136.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding production set
                    Prrivilege. 1/13/13.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.50 hrs
                    Mr. Shipler (DTI) regarding production set P3
                    1-15-13.
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01/15/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Shipler (DTI) regarding production set
                    1-15-13.
01/15/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.50 hrs
                    regarding 2012 Board Minutes to be produced.

01/15/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.20 hrs
                    regarding 2012 Board Minutes to be produced.

01/15/2013   GNM    Conference call with DTI team regarding               L120     0.60 hrs
                    production pipeline and timing.

01/15/2013   AJM    Review Orrick opinion letters from June 2008 and      L120     0.70 hrs
                    March 2012 to determine if privileged.

01/15/2013   AJM    Quality control review of documents withheld          L320     2.10 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
01/15/2013   AJM    Draft privilege log for documents produced in         L310     3.60 hrs
                    response to Examiner document requests, set
                    114/115.
01/15/2013   HLB    Perform quality control examiner review of batch      L120     6.90 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/15/2013   AEG    Post-Coding quality checks for Spindel batch 10.      L140     2.00 hrs


01/16/2013   AMP    Attention to finalizing logs for Cerberus 11/20 and   L320     0.70 hrs
                    11/21 productions.

01/16/2013   AMP    E-mails with Kirkland & Ellis and Cerberus'           L320     0.30 hrs
                    counsel regarding Cerberus 11/20 and 11/21
                    productions.
01/16/2013   AMP    Attention to review of additional 1800 Lazard         L320     1.00 hrs
                    documents for privilege and professional eyes
                    only.
01/16/2013   AMP    E-mail with review team regarding additional 1800     L320     0.30 hrs
                    Lazard documents for privilege and professional
                    eyes only.
01/16/2013   JAL    Conferences with Mr. Sechler and Mr. Beck             L120    14.80 hrs
                    regarding potential topics in Mr. Abreu's interview
                    (.90). Review documents regarding Mr. Flees
                    (1.1). Further review of Mr. Flees' documents
                    (2.0). Conference with Ms. Battle regarding
                    examiner interview of Mr. Marple. (.80) Review
                    Mr. Flees' documents compiled by Morrison
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                    Foerster from additional databases (3.9). Review
                    and redraft Mr. Abreu's outline (1.8). Review Mr.
                    Abreu's documents for examiner interview (3.1).
                    Draft supplemental outline regarding sub-servicing
                    issues (.90). Review Mr. Flees' interview topic
                    outline from examiner (.20). Conference with Mr.
                    Beck regarding preparation for upcoming examiner
                    interview. (.10)
01/16/2013   MNB    Provide information to Ms. Levitt (Morrison &        L120     0.30 hrs
                    Foerster) regarding third-party claims based on
                    federal securities laws.
01/16/2013   VLS    Monitor review status of document review team.       L320     0.60 hrs


01/16/2013   VLS    Assignment of document review batches to             L320     0.40 hrs
                    document review team members.

01/16/2013   VLS    Update document review status chart.                 L320     0.60 hrs


01/16/2013   VLS    Monitor review status of document review quality     L320     0.70 hrs
                    control team.

01/16/2013   VLS    Assignment of document review quality control        L320     0.40 hrs
                    batches to quality control team members.

01/16/2013   VLS    Update document review quality control charts.       L320     0.60 hrs


01/16/2013   VLS    E-mail exchange with document reviewer Ms.           L320     0.20 hrs
                    Williams regarding time card.

01/16/2013   JES    Draft supplemental Abreu outline for Examiner        L120     7.00 hrs
                    interview preparation. (6.00) Conference with Mr.
                    Lipps and Mr. Beck regarding same. (.90)
                    Conference with Mr. Beck regarding same. (.10)
01/16/2013   JES    Revise Giertz Examiner preparation outline.          L120     1.00 hrs


01/16/2013   RBS    Prepare Mr. Abreu documents to be uploaded to        L310     2.00 hrs
                    Sharepoint.

01/16/2013   RBS    Upload Mr. Abreu and Mr. Marple interview            L310     0.60 hrs
                    preparation kit to Sharepoint for Mr. Beck.

01/16/2013   RBS    Prepare sets of 9019 exhibits on U-Drive for Mr.     L310     0.40 hrs
                    Beck.
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01/16/2013   JALB   Meet with Mr. Lipps regarding Marple preparation.    L120     0.80 hrs


01/16/2013   JALB   Begin review of Marple outline.                      L330     0.30 hrs


01/16/2013   JALB   Meet with Mr. Rhode regarding Cancelliere            L120     0.40 hrs
                    preparation.

01/16/2013   JALB   Meet with Ms. Marty regarding status of document     L120     0.30 hrs
                    productions and open issues for missing
                    documents.
01/16/2013   DJB    Perform second level quality check of documents      L120     5.20 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/16/2013   DJB    Format privilege law, indicating specific reasons    L120     4.80 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/16/2013   MMM    Review documents and pull items that will be         L120     6.40 hrs
                    important for Mr. Bier to review before his
                    Examiner interview.
01/16/2013   MMM    Incorporate documents found into outline for Mr.     L120     4.00 hrs
                    Bier's interview preparation.

01/16/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/16/2013   DAB    Conference with Mr. Rhode regarding issues for       L120     0.10 hrs
                    examiner interview of Mr. Cancelliere.

01/16/2013   DAB    Meet with Mr. Lipps and Mr. Sechler regarding        L120     1.00 hrs
                    previous examiner interviews and issues for
                    examiner interview of Mr. Abreu.
01/16/2013   DAB    Draft materials on representation and warranty       L330     2.70 hrs
                    issues for examiner interview of Mr. Abreu.

01/16/2013   DAB    Conference with Mr. Sechler regarding additional     L120     0.10 hrs
                    materials for interview of Mr. Abreu.
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01/16/2013   DAB    Conference with Ms. Mohler regarding issues on        L120     0.20 hrs
                    Bier preparation.

01/16/2013   JRC    Telephone conference with Ms. Marty regarding         L190     0.10 hrs
                    clawback of documents produced to the examiner.

01/16/2013   JDR    Review discovery documents produced to                L320     3.30 hrs
                    examiner for Mr. Cancelliere's interview
                    preparation. (2.90) Conference with Ms. Battle
                    regarding key issues for examiner interview of Mr.
                    Marple. (.40)
01/16/2013   JDR    Review 9019 as filed reply brief in preparation for   L210     0.40 hrs
                    Mr. Cancelliere's interview.

01/16/2013   JDR    Review work product analysis of Mr. Marple for        L320     1.20 hrs
                    Mr. Cancelliere's examiner interview preparation.

01/16/2013   JDR    Review work product analysis of examiner witness      L320     1.00 hrs
                    interview of Mr. Whitlinger for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   JDR    Review work product analysis of examiner witness      L320     0.70 hrs
                    interview of Mr. Gess for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   JDR    Review Mr. Cancelliere's 9019 deposition for          L330     0.80 hrs
                    examiner interview preparation.

01/16/2013   JDR    Review work product analysis of examiner witness      L320     1.20 hrs
                    interview of Mr. Redmond for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   SP     Review documents marked as privileged and             L320     3.90 hrs
                    provide descriptions for Cerberus privilege log.

01/16/2013   SP     Review ResCap public filings to determine extent      L320     0.30 hrs
                    Mr. Giertz certified their contents.

01/16/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Shank (Residential Capital) regarding
                    additional board material requests.
01/16/2013   GNM    Drafting e-mail communications to be sent to Mr.      L120     0.90 hrs
                    Ashley (Chadbourne) regarding replacement of
                    Subservicing production in September 2012.
01/16/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Shipler (DTI) regarding configuration of
                    annotation pane for Phase 3 subproject.
01/16/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.20 hrs
                    regarding configuration of annotation pane for
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                    Phase 3 subproject.
01/16/2013   GNM    Working in Subservicing database running cross         L320     0.20 hrs
                    reference reports to be sent with clawback letter.

01/16/2013   GNM    Working in Discovery Partner database to locate        L320     2.20 hrs
                    board materials requested by the Examiner.

01/16/2013   GNM    Working in Cerberus database configuring data for      L320     3.60 hrs
                    production.

01/16/2013   GNM    Working in Discovery Partner database to run           L320     0.30 hrs
                    report for Bryan Cave documents already
                    produced.
01/16/2013   AJM    Quality control review of documents withheld           L320     3.50 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
01/16/2013   AJM    Draft privilege log for documents produced in          L310     5.30 hrs
                    response to Examiner document requests, set
                    114/115.
01/16/2013   HLB    Complete quality control examiner review of batch      L120     3.40 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/16/2013   HLB    Complete quality control examiner feedback form        L120     0.40 hrs
                    for batch Legacy custodian.005 per quality control
                    examiner protocol.
01/16/2013   AEG    Post-Coding quality checks for ResCap                  L140     2.30 hrs
                    bankruptcy/quality control feedback form filled out
                    and forward to first level attorney and Ms. Sholl.
01/17/2013   AMP    Attention to issues regarding privilege log for        L320     0.30 hrs
                    114/115 production.

01/17/2013   AMP    E-mails with Mr. Molnar regarding privilege log        L320     0.20 hrs
                    for 114/115 production.

01/17/2013   AMP    Review e-mail from Mr. Wyland (Bryan Cave)             L120     0.10 hrs
                    regarding additional privilege questions.

01/17/2013   AMP    Review e-mail from Ms. Battle regarding e-mail         L120     0.10 hrs
                    from Mr. Wyland (Bryan Cave) regarding
                    additional privilege questions.
01/17/2013   AMP    Review e-mails from Cerberus' counsel and              L320     0.20 hrs
                    Kirkland & Ellis regarding supplemental
                    production issues.
01/17/2013   JAL    Review, redraft and finalize preparation outline for   L120     9.30 hrs
                    Mr. Flees (1.6). Conference with Mr. Beck, Mr.
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                    Ilovsky and Mr. Day (Morrison & Foerster)
                    regarding Mr. Flees' preparation issues (1.0).
                    Conference with Mr. Flees' counsel regarding same
                    (.30). Participate in parts of Mr. Flees' preparation
                    (4.0). Review and respond to e-mails regarding
                    clawback of Marple Legal advice (.30). Review,
                    redraft and finalise preparation outline for Mr.
                    Abreu (1.0). Review Mr. Pensabene's interview
                    summary (.30). Review UCC presentation to
                    debtors (.70). Review e-mails regarding tax
                    allocation issues (.10).
01/17/2013   VLS    Monitor review status of document review team.          L320     0.80 hrs


01/17/2013   VLS    Assignment of document review batches to                L320     1.40 hrs
                    document review team members.

01/17/2013   VLS    Update document review status chart.                    L320     1.10 hrs


01/17/2013   VLS    Monitor review status of document review quality        L320     0.70 hrs
                    control team.

01/17/2013   VLS    Assignment of document review quality control           L320     0.80 hrs
                    batches to quality control team members.

01/17/2013   VLS    Update document review quality control charts.          L320     0.80 hrs


01/17/2013   VLS    E-mail exchange with Mr. Shipler of DTI                 L320     0.30 hrs
                    regarding additional quality control team members
                    to be given credentials in Discovery Partner.
01/17/2013   JES    Locate additional documents for Abreu interview         L120     1.00 hrs
                    preparation.

01/17/2013   JALB   Meet with Ms. Marty regarding potential                 L120     0.60 hrs
                    clawback. (.50) Correspondence with Morrison &
                    Foerster and Carpenter Lipps & Leland Examiner
                    teams regarding potentially privileged memoranda
                    for clawback analysis. (.10)
01/17/2013   JALB   Review cover memorandum for Marple interview            L120     0.60 hrs
                    preparation. (.30) Meet with Ms. Mohler regarding
                    updates to same. (.30)
01/17/2013   JALB   Review and analyze potentially privileged               L120     0.40 hrs
                    memoranda for clawback analysis.

01/17/2013   JALB   Further discussion with Mr. Rhode regarding scope       L120     0.40 hrs
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                    of issues for Cancelliere preparation.

01/17/2013   DJB    Perform second level quality check of documents       L120     3.40 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/17/2013   DJB    Format privilege law, indicating specific reasons     L120     6.30 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/17/2013   MMM    Review documents for anything that may be             L120     5.20 hrs
                    relevant to Mr. Bier's Examiner interview.

01/17/2013   MMM    Continue drafting Mr. Bier's Examiner preparation     L120     2.70 hrs
                    outline.

01/17/2013   MMM    Continue drafting Mr. Marple's outline for his        L120     1.20 hrs
                    Examiner interview. (.30) Meet with Ms. Battle
                    regarding revisions to same. (.30)
01/17/2013   DAB    Prepare for Flees examiner preparation session by     L330     1.10 hrs
                    reviewing outline and key documents.

01/17/2013   DAB    Meeting with Mr. Ilovsky, Mr. Day (Morrison &         L120     1.00 hrs
                    Foerster) and Mr. Lipps regarding key issues for
                    Mr. Flees.
01/17/2013   DAB    Meeting with Mr. Flees, counsel to Mr. Flees, Mr.     L120     6.50 hrs
                    Ilovsky, Mr. Day (Morrison & Foerster) and Mr.
                    Lipps (parts only) to prepare Mr. Flees for
                    examiner interview.
01/17/2013   DAB    Follow-up on issues raised in Flees prep session      L120     0.70 hrs
                    relevant to future interviews.

01/17/2013   DAB    Analyze Kramer Levin presentation on Ally claims      L330     0.70 hrs
                    for materials relevant ot upcoming examiner
                    interviews.
01/17/2013   JRC    Review and analyze documents in Discovery             L140     0.60 hrs
                    Partner in order to prepare interview materials for
                    Mr. Abreu.
01/17/2013   JRC    Review documents in Summation in order to locate      L140     0.30 hrs
                    interview preparation materials for examiner
                    witnesses.
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01/17/2013   JDR    Conference with Ms. Battle regarding examiner         L120     0.30 hrs
                    witness preparation for Mr. Cancelliere.

01/17/2013   JDR    Review examiner production documents related to       L320     1.50 hrs
                    representation and warranty reserve methodology
                    in preparation for Mr. Cancelliere's interview.
01/17/2013   JDR    Review examiner production documents related to       L320     1.50 hrs
                    Bank reserves in preparation for Mr. Cancelliere's
                    interview.
01/17/2013   JDR    Review examiner production documents in               L320     1.00 hrs
                    preparation for Mr. Cancelliere's interview.

01/17/2013   JDR    Review examiner production documents related to       L320     2.00 hrs
                    valuation in preparation for Mr. Cancelliere's
                    interview.
01/17/2013   JDR    Outline areas of anticipated inquiry in preparation   L120     0.80 hrs
                    for Mr. Cancelliere's interview.

01/17/2013   JDR    Review examiner production documents in               L320     2.80 hrs
                    preparation for Mr. Canelliere's interview.

01/17/2013   SP     Review documents marked as privileged and             L320     2.40 hrs
                    provide descriptions for Cerberus privilege log.

01/17/2013   SP     Assist Mr. Sechler with finding and reviewing         L320     0.60 hrs
                    documents relevant to Mr. Abreu.

01/17/2013   GNM    Lead new reviewer training.                           L320     1.10 hrs


01/17/2013   GNM    E-mail communications with Ms. Gardiner               L120     0.10 hrs
                    (Schulte Roth) regarding load files for Cerberus
                    production.
01/17/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.50 hrs
                    regarding configuration of annotation pane in
                    Phase 3 Subproject.
01/17/2013   GNM    Working in the Subservicing database to locate        L320     2.40 hrs
                    documents pertaining to AFI preferential payment.

01/17/2013   GNM    Editing response to be sent to Examiner regarding     L120     0.30 hrs
                    additional board materials requested.

01/17/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    contract quality control team regarding Lazard
                    review.
01/17/2013   GNM    Working in Discovery Partner database to locate       L320     1.40 hrs
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                    board materials requested by the Examiner.

01/17/2013   GNM    Working in Phase 3 Subproject configuring data       L320     1.30 hrs
                    for review.

01/17/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.80 hrs
                    (Schulte Roth) regarding Cerberus data.

01/17/2013   GNM    Working in Cerberus database configuring data for    L320     0.30 hrs
                    production.

01/17/2013   GNM    Telephone communications with Mr. Levine             L120     0.20 hrs
                    (Morrison & Foerster) regarding privilege
                    determinations.
01/17/2013   GNM    Telephone communications with Ms. Tice               L120     0.20 hrs
                    (Morrison & Foerster) regarding location of e-mail
                    used in Whitlinger deposition.
01/17/2013   GNM    Meeting with Ms. Battle regarding clawback of        L120     0.50 hrs
                    Subservicing productions.

01/17/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding documents to be
                    produced to Schulte Roth.
01/17/2013   GNM    E-mail communications with Ms. Searls (Contract      L120     0.20 hrs
                    Quality Control Team) regarding review of
                    documents previously marked privileged.
01/17/2013   GNM    Telephone communication with Ms. Wafalosky           L120     0.10 hrs
                    (Robert Half Legal) regarding staffing levels.

01/17/2013   GNM    Working in Discovery Partner database                L320     0.40 hrs
                    configuring data for review.

01/17/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.30 hrs
                    regarding last data load documents.

01/17/2013   GNM    Researching in Discovery Partner database to         L320     0.80 hrs
                    determine which entity employed certain
                    employees in 2006.
01/17/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Battle regarding database research on
                    employment history of certain employees.
01/17/2013   AJM    Draft privilege log for documents produced in        L320     3.50 hrs
                    response to Examiner document requests, set
                    114/115.
01/17/2013   AJM    Quality control review of documents withheld         L320     0.90 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/17/2013   AJM    Draft privilege log for documents produced in       L310     1.80 hrs
                    response to Examiner document requests, set
                    116/117.
01/17/2013   SCM    Quality control review of Renzi 007 document set.   L320     0.60 hrs


01/17/2013   HLB    Perform quality control examiner review of batch    L120     2.80 hrs
                    Jones.009 per quality control examiner protocol.

01/17/2013   ABW    Document review regarding quality control,          L140     3.10 hrs
                    Legacy Custodian 006.

01/17/2013   LWS    Quality control training regarding ResCap           L110     1.00 hrs
                    bankruptcy.

01/18/2013   AMP    Attention to Cerberus supplemental production and   L320     0.30 hrs
                    privilege issues.

01/18/2013   AMP    Review multiple e-mails from Kirkland & Ellis,      L320     0.40 hrs
                    Ms. Marty and Cerberus' counsel regarding
                    Cerberus supplemental production and privilege
                    issues.
01/18/2013   AMP    Review and respond to e-mail from Mr. Phillips      L320     0.20 hrs
                    regarding review of 1800 additional Lazard
                    documents.
01/18/2013   AMP    Review multiple e-mails with Morrison & Foerster    L320     0.20 hrs
                    regarding Marple memorandum and privilege
                    assertions for same.
01/18/2013   JAL    Review Mr. Abreu's materials complied by            L120     9.30 hrs
                    Morrison Foerster to prepare for examiner
                    interview (1.2). Conference with Mr. Abreu and
                    Ms. Levitt (Morrison & Foerster) to prepare for
                    interview (5.5). Draft summary of Mr. Abreu's
                    examiner issues (1.3). Review revised summary of
                    Mr. Pensabaene's interview (.50). Review and
                    respond to e-mails regarding clawback of Marple
                    memo (.30). Review e-mail reports of Mr. Flees'
                    interview (.50).
01/18/2013   VLS    Meet with Ms. Marty regarding production            L320     0.80 hrs
                    deadline.

01/18/2013   VLS    Monitor review status of document review team.      L320     1.10 hrs


01/18/2013   VLS    Assignment of document review batches to            L320     0.60 hrs
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                    document review team members.

01/18/2013   VLS    Update document review status chart.                   L320     0.80 hrs


01/18/2013   VLS    Monitor review status of document review quality       L320     0.80 hrs
                    control team.

01/18/2013   VLS    Update document review quality control charts.         L320     1.20 hrs


01/18/2013   VLS    E-mail exchange with Ms. Marty regarding               L320     0.20 hrs
                    document reviewer Ms. Wolfe.

01/18/2013   JES    Revise and finalize Giertz preparation outline.        L120     3.00 hrs


01/18/2013   JES    Review Pensabene interview memorandum.                 L120     1.00 hrs


01/18/2013   TKI    Review e-mail documents for quality control            L120     0.70 hrs
                    purposes for Applegate 10 batch.

01/18/2013   JALB   Review materials for preparation of Mr. Marple for     L330     0.50 hrs
                    Examiner interview.

01/18/2013   JALB   Discussion with Examiner document production           L320     0.70 hrs
                    team regarding status of document productions and
                    privilege/clawback issues.
01/18/2013   DJB    Perform second level quality check of documents        L120     1.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/18/2013   DJB    Format privilege law, indicating specific reasons      L120     2.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/18/2013   MMM    Continue drafting preparation outline for Mr. Bier's   L120     1.70 hrs
                    Examiner interview.

01/18/2013   MMM    Review documents for relevant information that         L120     2.80 hrs
                    may be used in Mr. Casey's Examiner interview.
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01/18/2013   DAB    Prepare for examiner interview of Mr. Flees.          L330     0.60 hrs


01/18/2013   DAB    Conference with Mr. Day (Morrison & Foerster)         L330     0.40 hrs
                    and Mr. Flees in preparation for examiner
                    interview.
01/18/2013   DAB    Participate in parts of Examiner interview of Mr.     L330     6.70 hrs
                    Flees with Mr. Ilovsky and Mr. Day (Morrison &
                    Foerster).
01/18/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding Flees       L120     0.40 hrs
                    interview.

01/18/2013   DAB    E-mail Mr. Sechler regarding preparations for         L120     0.20 hrs
                    upcoming witnesses.

01/18/2013   JDR    Draft outline in preparation for Mr. Cancelliere's    L420     1.50 hrs
                    interview.

01/18/2013   JDR    Prepare materials for Mr. Cancelliere's interview     L420     2.00 hrs
                    preparation.

01/18/2013   JDR    Review documents related to valuation produced to     L320     3.40 hrs
                    examiner in preparation for Mr. Cancelliere's
                    interview.
01/18/2013   JDR    Review documents related to relevant                  L320     3.00 hrs
                    inter-company transactions in preparation for Mr.
                    Cancelliere's interview.
01/18/2013   SP     Review documents marked as privileged and             L320     1.80 hrs
                    provide descriptions for Cerberus privilege log.

01/18/2013   SP     Work with contract reviewers to set up protocol for   L320     1.60 hrs
                    reviewing Cerberus documents.

01/18/2013   SP     Confer with contract reviewers regarding review of    L120     0.30 hrs
                    Lazard documents.

01/18/2013   GNM    Working in Discovery Partner database performing      L320     3.70 hrs
                    second level review on quality control set 1-20-13.

01/18/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    Ms. Shank (Residential Capital) regarding
                    requested Board Materials
01/18/2013   GNM    Drafting and sending progress update e-mails to       L320     1.20 hrs
                    the quality control team.
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01/18/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.40 hrs
                    (Schulte Roth) regarding Cerberus data.

01/18/2013   GNM    Working in Relativity database to configure Lazard    L320     0.60 hrs
                    data for review.

01/18/2013   GNM    Meeting with Ms. Sholl regarding production           L120     0.80 hrs
                    deadline.

01/18/2013   AJM    Draft privilege log for documents produced in         L310     0.20 hrs
                    response to Examiner document requests, set
                    116/117.
01/18/2013   HLB    Perform quality control examiner review of batch      L120     4.60 hrs
                    Jones.009 per quality control examiner protocol.

01/18/2013   ABW    Document review regarding quality control Legacy      L140     0.60 hrs
                    Custodian 006.

01/18/2013   ABW    E-mail from Ms. Marty regarding phase 2.              L190     0.10 hrs


01/19/2013   AMP    Review e-mails from Morrison & Foerster               L320     0.20 hrs
                    regarding GMAC Bank documents.

01/19/2013   JAL    Review outline for Mr. Bier's preparation (.30).      L120     1.00 hrs
                    Review Mr. Bier's documents (.40). Conference
                    with Mr. Beck regarding revisions to Mr. Bier's
                    outline (.10). Review e-mails regarding same
                    (.10). Review e-mails regarding examiner
                    interview schedule (.10).
01/19/2013   TKI    Review e-mail documents for quality control           L120     3.40 hrs
                    purposes for Dondzilla 026 batch.

01/19/2013   TKI    Review e-mail documents for quality control           L120     1.70 hrs
                    purposes for Applegate 10 batch.

01/19/2013   MMM    Finalize binder and outline for Mr. Bier's Examiner   L120     1.80 hrs
                    interview.

01/19/2013   DAB    Review and comment on preparation materials for       L330     2.70 hrs
                    Mr. Bier. (2.60) Conference with Mr. Lipps
                    regarding same. (.10)
01/19/2013   DAB    E-mails with Mr. Lipps regarding preparations for     L120     0.40 hrs
                    examiner interview of Mr. Bier.

01/19/2013   DAB    E-mails with Ms. Mohler regarding preparation         L120     0.50 hrs
                    outline for Mr. Bier.
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01/19/2013   DAB    Communicate with Ms. Levitt, Mr. Ilovsky and           L120     0.20 hrs
                    Mr. Day (Morrison & Foerster) regarding
                    preparation materials for Mr. Bier.
01/19/2013   JDR    Draft outline and prepare exhibits related to          L420     1.30 hrs
                    organizational heirarchy and responsibilities in
                    preparation for Mr. Cancelliere's interview.
01/19/2013   JDR    Draft outline and prepare exhibits related to          L420     3.60 hrs
                    representation and warranty reserves in preparation
                    for Mr. Cancelliere's interview.
01/19/2013   JDR    Draft outline and prepare exhibits related to the      L420     2.00 hrs
                    Ally settlement in preparation for Mr. Cancelliere's
                    interview.
01/19/2013   JDR    Review documents produced to examiner in               L320     1.50 hrs
                    preparation for Mr. Cancelliere's interview.

01/19/2013   SP     Review documents marked as privileged and              L320     0.20 hrs
                    provide descriptions for Cerberus privilege log.

01/19/2013   SP     Communicate with contract reviewer regarding           L120     0.60 hrs
                    review of Cerberus documents.

01/19/2013   GNM    Working in the Discovery Partner database              L320     0.20 hrs
                    locating documents for witness preparation.

01/19/2013   SCM    Quality control review of Renzi 007 document set.      L320     2.30 hrs


01/19/2013   HLB    Perform quality control examiner review of batch       L120     0.80 hrs
                    Jones.009 per quality control examiner protocol.

01/19/2013   ABW    Document review regarding quality control Legacy       L140     1.50 hrs
                    Custodian 006.

01/20/2013   AMP    Review e-mails between Ms. Battle, Mr. Molnar,         L320     0.20 hrs
                    and Morrison & Foerster regarding current
                    privilege log including Marple memorandum and
                    completion of same.
01/20/2013   JAL    Review outline for Mr. Bier's preparation (.30).       L120     5.00 hrs
                    Review Mr. Bier's documents (3.4). Conference
                    with Mr. Beck regarding revisions to Mr. Bier's
                    outline (.10). Review e-mails regarding same
                    (.10). Review e-mails regarding examiner
                    interview schedule (.10). Review Morrison
                    Foerster's analysis of GMAC Bank transaction and
                    supporting documents (.50). Review UCC
                    presentation to debtors and back-up documents
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                    (.50).
01/20/2013   VLS    E-mail exchange with quality control team member      L320     0.10 hrs
                    Ms. Coleman regarding quality control batch
                    assignment.
01/20/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.20 hrs
                    Kindler regarding technical issues with Discovery
                    Partner database.
01/20/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.20 hrs
                    Lagrone regarding technical issues with Discovery
                    Partner database.
01/20/2013   JALB   Review and analyze materials for preparation of       L330     2.00 hrs
                    Mr. Marple for Examiner interview.

01/20/2013   DAB    Review and analyze Morrison & Foerster                L120     1.30 hrs
                    memorandum on bank transaction.

01/20/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    comments on bank transaction memorandum.

01/20/2013   JRC    Review, analyze and code hard copy documents of       L140     1.90 hrs
                    Mr. Ruckdaschel in Discovery Partner in response
                    to requests from the examiner.
01/20/2013   JDR    Supplement outline and exhibits related to            L420     0.60 hrs
                    representation and warranty reserves in preparation
                    for Mr. Cancelliere's interview.
01/20/2013   JDR    Draft outline and prepare exhibits related to         L420     2.00 hrs
                    valuations in preparation for Mr. Cancelliere's
                    interview.
01/20/2013   JDR    Review documents produced to examiner in              L320     1.70 hrs
                    preparation for Mr. Cancelliere's interview.

01/20/2013   SP     Review documents marked as privileged and             L320     0.60 hrs
                    provide descriptions for Cerberus privilege log.

01/20/2013   SP     Communicate with contract reviewer regarding          L120     1.10 hrs
                    process for review of Cerberus documents.

01/20/2013   GNM    E-mail communications with Ms. Chinn (Contract        L120     0.10 hrs
                    quality control Team) regarding coding of Lazard
                    data.
01/20/2013   AJM    Quality control review of documents withheld          L320     1.20 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/20/2013   AJM    Draft privilege log for documents produced in         L310     2.50 hrs
                    response to Examiner document requests, set
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                    116/117.
01/20/2013   SCM    Quality control review of Renzi 007 document set.   L320     3.10 hrs


01/20/2013   ABW    Document review regarding quality control Legacy    L140     3.60 hrs
                    Custodian 006.

01/21/2013   AMP    Review e-mail from Mr. Molnar regarding             L320     0.10 hrs
                    privilege log production.

01/21/2013   AMP    Respond to e-mail from Mr. Molnar regarding         L320     0.10 hrs
                    privilege log production.

01/21/2013   AMP    Review e-mails from Ms. Battle regarding            L320     0.10 hrs
                    privilege log production.

01/21/2013   JAL    Review Mr. Bier's documents to prepare for          L120     9.00 hrs
                    examiner interview (6.9). Review Mr. Bier's
                    preparation outline (1.0). E-mails with Mr. Beck
                    regarding Mr. Bier's documents (.40). Review and
                    respond to e-mails regarding UCC presentation
                    (.20). Review e-mail regarding Mr. Abreu's
                    preparation issues (.20). Review and respond to
                    e-mails regarding clawback request and Mr. Bier's
                    interview schedule (.30).
01/21/2013   VLS    Assignment of document review batches to            L320     1.10 hrs
                    document review team members.

01/21/2013   VLS    Monitor review status of document review quality    L320     0.60 hrs
                    control team.

01/21/2013   VLS    Assignment of document review quality control       L320     0.40 hrs
                    batches to quality control team members.

01/21/2013   VLS    Update document review quality control charts.      L320     0.70 hrs


01/21/2013   TKI    Review e-mail documents for quality control         L120     3.10 hrs
                    purposes for Dondzilla 026 batch.

01/21/2013   TKI    Review e-mail documents for quality control         L120     2.40 hrs
                    purposes for Applegate 10 batch.

01/21/2013   JALB   Review and analyze Kramer Levin presentation on     L120     1.40 hrs
                    Examiner-related issues.

01/21/2013   JALB   Follow-up correspondence regarding Kramer           L120     0.30 hrs
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                    Levin presentation on Examiner-related issues.

01/21/2013   JALB   Review and analyze materials for meeting with Mr.     L120     0.70 hrs
                    Marple.

01/21/2013   JALB   Meet with Mr. Day, Mr. Illovsky (both Morrison &      L120     5.70 hrs
                    Foerster) and Mr. Marple (former Residential
                    Capital) regarding preparation for Examiner
                    interview.
01/21/2013   JALB   Attention to witness scheduling and preparation       L330     0.60 hrs
                    issues.

01/21/2013   JALB   Correspondence regarding document production          L120     0.20 hrs
                    schedules.

01/21/2013   MMM    Review documents in preparation for Mr. Casey's       L120     1.30 hrs
                    interview with the Examiner.

01/21/2013   DAB    E-mails with Mr. Lipps regarding issues for Bier      L120     0.40 hrs
                    interview.

01/21/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    arguments on 2006 bank deal.

01/21/2013   DAB    Communicate with Ms. Battle regarding bank            L120     0.10 hrs
                    memorandum backup materials.

01/21/2013   DAB    Communicate with Ms. Marty regarding bank             L120     0.10 hrs
                    memorandum backup materials.

01/21/2013   DAB    Draft exhibit lists for interview of Mr. Flees.       L330     0.40 hrs


01/21/2013   DAB    Communicate with Ms. Vasilluu (Morrison &             L120     0.10 hrs
                    Foerster) regarding backup for bank memorandum.

01/21/2013   DAB    Communicate with Ms. Battle regarding additional      L120     0.10 hrs
                    materials for Marple preparation.

01/21/2013   JDR    Review documents produced to examiner in              L320     2.50 hrs
                    preparation for Mr. Cancelliere's interview.

01/21/2013   JDR    Prepare exhibits in preparation for Mr.               L320     1.20 hrs
                    Cancelliere's interview.

01/21/2013   JDR    Revise outline in preparation for Mr. Cancelliere's   L420     1.00 hrs
                    interview.
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01/21/2013   JDR    Draft correspondence to Ms. Battle and Mr. Beck      L120     0.10 hrs
                    regarding Mr. Cancelliere's interview preparation.

01/21/2013   SP     Review documents marked as privileged and            L320     2.90 hrs
                    provide descriptions for Cerberus privilege log.

01/21/2013   GNM    Working in Discovery Partner database performing     L320     1.70 hrs
                    second level review on quality control set P3
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01/21/2013   GNM    Working in Discovery Partner database performing     L320     1.10 hrs
                    second level review on quality control set 1-21-13

01/21/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.80 hrs
                    Battle regarding clawback of the Subservicing
                    productions.
01/21/2013   GNM    E-mail communications with Ms. Sholl regarding       L120     0.30 hrs
                    last data set for review.

01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding cross reference for
                    Subservicing production.
01/21/2013   GNM    Researching in Discovery Partner for documents       L320     4.80 hrs
                    referenced in the Kramer Levin presentation to
                    Morrison & Foerster.
01/21/2013   GNM    Researching in Lexis Nexis for documents             L320     2.40 hrs
                    referenced in the Kramer Levin presentation to
                    Morrison & Foerster.
01/21/2013   GNM    E-mail communications with Mr. Beck regarding        L120     0.30 hrs
                    documents referenced in the Kramer Levin
                    presentation to Morrison & Foerster.
01/21/2013   GNM    Performing quality control checks on productions     L320     0.30 hrs
                    EXAM207/208/139.

01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) releasing
                    productions EXAM207/208/139.
01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-20-13.
01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-21-13.
01/21/2013   AJM    Quality control review of documents withheld         L320     1.50 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/21/2013   AJM    Draft privilege log for documents produced in         L310     3.60 hrs
                    response to Examiner document requests, set
                    116/117.
01/21/2013   SCM    Quality control review of Renzi 007 document set.     L320     3.40 hrs


01/21/2013   HLB    Perform quality control examiner review of batch      L120     1.80 hrs
                    Jones.009 per quality control examiner protocol.

01/21/2013   AEG    Post-Coding quality checks of Applegate batch 4       L140     3.00 hrs
                    for ResCap bankruptcy/quality control. (2.60)
                    Feedback form filled out and forward to first level
                    attorney and Ms. Sholl. (.40)
01/21/2013   ABW    Document review regarding quality control Legacy      L140     1.80 hrs
                    Custodian 006.

01/21/2013   ABW    Prepare of quality control feedback form regarding    L140     0.20 hrs
                    Legacy Custodian 006.

01/21/2013   ABW    E-mail to Ms. Sholl regarding assignment.             L190     0.10 hrs


01/22/2013   JAL    Review Mr. Abreu's documents to prepare for           L120    10.80 hrs
                    preparation meeting (.80). Conference with Mr.
                    Abreu (Residential Capital) and Ms. Levitt
                    (Morrison & Foerster) to prepare for examiner
                    interview (2.0). Participate at interview of Mr.
                    Abreu (7.4). Review revised version of Morrison
                    Foerster's bank memo (.40). Review and respond
                    to e-mails regarding examiner interview schedule
                    and interview summaries (.20).
01/22/2013   VLS    Monitor review status of document review team.        L320     1.20 hrs


01/22/2013   VLS    Assignment of document review batches to              L320     0.80 hrs
                    document review team members.

01/22/2013   VLS    Update document review status chart.                  L320     1.40 hrs


01/22/2013   VLS    Monitor review status of document review quality      L320     0.90 hrs
                    control team.

01/22/2013   VLS    Assignment of document review quality control         L320     0.80 hrs
                    batches to quality control team members.
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01/22/2013   VLS    Update document review quality control status        L320     1.10 hrs
                    charts.

01/22/2013   VLS    Obtain document reviewer time cards and review       L320     1.60 hrs
                    for accuracy.

01/22/2013   VLS    Approve document reviewers time cards for            L320     0.40 hrs
                    payment.

01/22/2013   VLS    E-mail Mr. Kasmikha, document reviewer,              L320     0.20 hrs
                    regarding time card entry.

01/22/2013   VLS    E-mail Ms. Perko, document reviewer, regarding       L320     0.20 hrs
                    time card entry.

01/22/2013   VLS    E-mail Ms. Mohler, document reviewer, regarding      L320     0.20 hrs
                    time card entry.

01/22/2013   JES    Revise Giertz outline and review additional          L120     3.00 hrs
                    documents.

01/22/2013   RBS    Upload Mr. Giertz interview preparation kit to       L310     0.30 hrs
                    Sharepoint.

01/22/2013   RBS    Upload additional Mr. Giertz interview preparation   L310     0.20 hrs
                    kit materials to Sharepoint.

01/22/2013   JALB   Meet with Mr. Day and Mr. Illovsky (Morrison &       L120     0.30 hrs
                    Foerster) regarding scope of privilege issues.

01/22/2013   JALB   Correspondence with Ms. Marty, Mr. Salerno           L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Brown (Morrison
                    & Foerster) regarding production of documents to
                    Examiner.
01/22/2013   JALB   Attend interview of Mr. Marple.                      L120     5.60 hrs


01/22/2013   JALB   Attention to witness scheduling issues and           L330     0.30 hrs
                    follow-up regarding same.

01/22/2013   DJB    Perform second level quality check of documents      L120     6.30 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
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01/22/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/22/2013   MMM    Review documents and draft preparation outline       L120     6.40 hrs
                    for Mr. Casey's Examiner interview.

01/22/2013   DAB    Conference with Mr. Sechler regarding outline for    L120     0.10 hrs
                    preparation of Mr. Giertz.

01/22/2013   DAB    Revise preparation outline for Mr. Giertz.           L330     0.90 hrs


01/22/2013   DAB    Multiple conferences with Mr. Rhode regarding        L120     0.60 hrs
                    issues for examiner interview of Mr. Cancelliere.

01/22/2013   DAB    Call with Mr. Serrano (Morrison & Foerster) and      L120     0.10 hrs
                    Mr. Rhode regarding issues for examiner interview
                    of Mr. Cancelliere.
01/22/2013   JRC    Review, analyze, and code hard copy documents of     L320     0.30 hrs
                    Mr. Ruckdaschel in response to requests from the
                    bankruptcy examiner.
01/22/2013   JDR    Teleconference with Mr. Serrano (Morrison &          L120     0.20 hrs
                    Foerster) and Mr. Beck regarding Mr. Cancelliere's
                    Examiner interview preparation.
01/22/2013   JDR    Review documents produced to Examiner as             L320     0.20 hrs
                    identified by Ms. Battle in preparation for
                    upcoming interviews.
01/22/2013   JDR    Review discovery documents for integration into      L310     0.80 hrs
                    Mr. Cancelliere's interview preparation outline.

01/22/2013   JDR    Conference with Mr. Beck regarding Mr.               L120     0.50 hrs
                    Cancelliere's Examiner interview preparation.

01/22/2013   SP     Review documents marked as privileged and            L320     1.70 hrs
                    provide descriptions for Cerberus privilege log.

01/22/2013   SP     Review board materials for treatment of specific     L320     0.40 hrs
                    transactions for Mr. Beck.

01/22/2013   GNM    E-mail communications to Ms. Levitt (Morrison &      L120     0.10 hrs
                    Foerster) regarding Subservincing cross reference.
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01/22/2013   GNM    Conduct new reviewer training.                         L320     2.90 hrs


01/22/2013   GNM    Researching in Relativity database for documents       L320     4.10 hrs
                    referenced in Kramer Levin presentation to
                    Morrison & Foerster.
01/22/2013   GNM    Drafting outline of materials referenced in Kramer     L320     2.10 hrs
                    Levin presentation to Morrison & Foerster.

01/22/2013   AJM    Quality control review of documents withheld           L320     3.30 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/22/2013   AJM    Draft privilege log for documents produced in          L310     7.00 hrs
                    response to Examiner document requests, set
                    116/117.
01/22/2013   SCM    Review of Olson 2 007 documents.                       L320     3.60 hrs


01/22/2013   SCM    Review of Spindel 007 documents.                       L320     0.70 hrs


01/22/2013   HLB    Perform quality control examiner review of batch       L120     2.70 hrs
                    Jones.009 per quality control examiner protocol.

01/22/2013   HLB    Complete quality control examiner feedback form        L120     0.50 hrs
                    for batch Jones.009 per quality control examiner
                    protocol.
01/22/2013   AEG    Post-Coding quality checks for Dondzilla batch 23      L140     1.00 hrs
                    for ResCap bankruptcy.

01/23/2013   AMP    Attention to finalizing privilege log for production   L320     2.20 hrs
                    112/113.

01/23/2013   AMP    Attention to finalizing privilege log for production   L320     3.10 hrs
                    114/115.

01/23/2013   AMP    Review e-mails from Mr. Brown (Morrison &              L320     0.30 hrs
                    Foerster), Mr. Day (Morrison & Foerster), and Ms.
                    Battle regarding witness interview of Mr. Marple
                    and privileged Marple memorandum.
01/23/2013   AMP    Attention to log entries for Marple memorandum.        L320     0.40 hrs


01/23/2013   AMP    Multiple e-mails regarding log entries for Marple      L320     0.30 hrs
                    memorandum.
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01/23/2013   JAL    Telephone conference with Ms. Battle regarding         L120     0.80 hrs
                    examiner interview schedule (.30). Review and
                    respond to e-mails regarding interview schedule
                    and preparation coverage (.10). Review e-mails
                    regarding preparation call with Mr. Pohl's counsel
                    (.20). Review additional interview list (.10).
                    Conference with Ms. Battle and Mr. Beck
                    regarding same (.10).
01/23/2013   VLS    Monitor review status of document review team.         L320     1.20 hrs


01/23/2013   VLS    Assignment of document review batches to               L320     0.60 hrs
                    document review team members.

01/23/2013   VLS    Update document review status chart.                   L320     1.00 hrs


01/23/2013   VLS    Monitor review status of document review quality       L320     0.80 hrs
                    control team.

01/23/2013   VLS    Assignment of document review quality control          L320     0.40 hrs
                    batches to quality control team members.

01/23/2013   VLS    Update document review quality control status          L320     0.80 hrs
                    charts.

01/23/2013   VLS    Receipt and review of hard drives for productions      L320     0.40 hrs
                    EXAM 131, EXAM 137, and EXAM 138.

01/23/2013   RBS    Download documents from Bank binder at                 L310     0.30 hrs
                    Sharepoint to U-Drive for Mr. Beck.

01/23/2013   RBS    Download Mr. Abreu Examiner Exhibits to                L310     0.20 hrs
                    U-Drive for Mr. Beck.

01/23/2013   RBS    Prepare alphabetical and chronological                 L310     0.30 hrs
                    spreadsheets of interview exhibits to distribute for
                    Mr. Beck.
01/23/2013   JALB   E-mails with interview preparation team regarding      L120     0.50 hrs
                    list of new interviewees. (.20) Call with Mr. Lipps
                    regarding scheuduling of upcoming interviews.
                    (.30)
01/23/2013   JALB   Telephone conference with Mr. Illovsky & Mr.           L120     0.40 hrs
                    Day (Morrison & Foerster) regarding next steps to
                    schedule and prepare for new interviewees.
01/23/2013   JALB   Review list of new interviewees.                       L330     0.20 hrs
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01/23/2013   JALB   Follow-up with Mr. Bier (former Residential          L120     0.10 hrs
                    Capital) regarding upcoming interview.

01/23/2013   JALB   Review materials for interview preparation session   L330     1.20 hrs
                    with Mr. Giertz (former Residential Capital).

01/23/2013   JALB   Discussion with Ms. Marty regarding status and       L120     0.40 hrs
                    planning for remaining document productions to
                    Examiner.
01/23/2013   JALB   E-mail exchanges with Ms. Hamzehpour, Mr.            L120     0.60 hrs
                    Whitlinger (both Residential Capital), Mr. Renzi
                    (FTI) and Mr. Lipps regarding methods to provide
                    Mesirow with background on securitization
                    processes.
01/23/2013   JALB   Follow-up with Ms. Hamzehpour (Residential           L120     0.20 hrs
                    Capital) regarding outreach to new interviewees.

01/23/2013   DJB    Perform second level quality check of documents      L120     6.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/23/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/23/2013   MMM    Review documents and draft preparation outline       L120     4.50 hrs
                    for Mr. Casey's Examiner interview.

01/23/2013   MMM    Review documents for relevant information that       L120     5.60 hrs
                    may be used in Mr. Casey's Examiner interview.

01/23/2013   MMM    Attend conference call with Ms. Lowenberg            L120     0.30 hrs
                    (Morrison & Foerster) and Mr. Beck regarding
                    Casey Examiner preparation.
01/23/2013   DAB    Conference with Mr. Day (Morrison & Foerster)        L120     0.20 hrs
                    regarding preparations for upcoming witness
                    interviews.
01/23/2013   DAB    Conference with Ms. Lowenberg (Morrison &            L120     0.30 hrs
                    Foerster) and Ms. Mohler regarding issues for
                    interview preparation of Mr. Casey.
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01/23/2013   DAB    Analyze new interview requests from examiner.          L330     0.30 hrs


01/23/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.20 hrs
                    regarding new interview requests.

01/23/2013   DAB    Communicate with Ms. Battle regarding                  L120     0.40 hrs
                    production reviews for upcoming examiner
                    interviews.
01/23/2013   DAB    E-mails with Ms. Lowenberg (Morrison &                 L120     0.20 hrs
                    Foerster) regarding examiner exhibits used in
                    Abreu interview.
01/23/2013   DAB    E-mail Mr. Samson regarding additional materials       L120     0.10 hrs
                    needed from Morrison & Foerster for upcoming
                    examiner interviews.
01/23/2013   JRC    Draft protocol for review of Ms. Hamzehpour's          L320     0.40 hrs
                    hard-copy documents.

01/23/2013   JRC    Review hard-copy documents of Ms. Hamzehpour           L320     0.30 hrs
                    in order to draft a supplemental review protocol for
                    those documents.
01/23/2013   JRC    E-mail exchange with Mr. Lipps, Mr. Beck, and          L120     0.10 hrs
                    Ms. Battle regarding newly identified examiner
                    witnesses.
01/23/2013   JRC    Review documents in litigation databases in order      L320     2.50 hrs
                    to draft e-mail analyzing roles of Mr. Russell, Mr.
                    Blahut, and Mr. Blackburn.
01/23/2013   JRC    Draft e-mail summarizing roles of Mr. Russell, Mr.     L120     0.20 hrs
                    Blahut, and Mr. Blackburn.

01/23/2013   JDR    Revise outline and supplement exhibits with            L420     2.90 hrs
                    documents and topics identified by Mr. Serrano
                    (Morrison & Foerster) in preparation for Mr.
                    Cancelliere's examiner interview.
01/23/2013   JDR    Draft outline in preparation for Mr. Cancelliere's     L420     2.40 hrs
                    interview related to likely areas of inquiry.

01/23/2013   JDR    Draft outline in preparation for Mr. Cancelliere's     L420     1.60 hrs
                    interview related to likely areas of inquiry.

01/23/2013   SP     Review documents marked as privileged and              L320     2.80 hrs
                    provide descriptions for Cerberus privilege log.

01/23/2013   SP     Confer with contract reviewer regarding Cerberus       L320     0.30 hrs
                    documents.
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01/23/2013   SP     Answer questions relating to privilege              L120     0.40 hrs
                    determinations for contract reviewers reviewing
                    Lazard documents.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     1.90 hrs
                    quality control team members regarding quality
                    control protocol and completion timeline.
01/23/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.50 hrs
                    metrics and planning for remaining document
                    production.
01/23/2013   GNM    Updating weekly status report for Ms. Battle        L120     0.40 hrs


01/23/2013   GNM    Working in Subservicing database gathering          L320     0.20 hrs
                    document to be used for witness preparation.

01/23/2013   GNM    Working in Discovery Partner database performing    L320     2.10 hrs
                    second level review on production set 1-23-13

01/23/2013   GNM    Working in Discovery Partner database performing    L320     1.10 hrs
                    second level review on production set P3 1-24-13.

01/23/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.20 hrs
                    (Schulte Roth) regarding Cerberus data.

01/23/2013   GNM    Telephone communications with Ms. Klun (Lumen       L120     0.30 hrs
                    Legal) regarding staffing levels.

01/23/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.30 hrs
                    (Schulte Roth) and Ms. Gulley (DTI) regarding
                    Cerberus data.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Ms. Diem (Contract Reviewer), Ms. Buchanan,
                    and Mr. Navarro (Morrison & Foerster) regarding
                    review of Hamzehpour non e-mail data.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.30 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-24-13.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-23-13.
01/23/2013   GNM    Working in Phase 3 Subproject configuring data      L320     0.40 hrs
                    for review.

01/23/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.40 hrs
                    regarding Phase 3 subproject annotation pane.
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01/23/2013   AJM    Quality control review of documents withheld          L320     1.90 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/23/2013   AJM    Draft privilege log for documents produced in         L310     5.40 hrs
                    response to Examiner document requests, set
                    116/117.
01/23/2013   MJB    Legal research on the obligation of parties to        L120     3.80 hrs
                    preserve documents that are to be transferred to a
                    third party as part of a sale agreement and draft
                    summary of research findings.
01/23/2013   HLB    Perform quality control review of batch Legacy        L120     3.50 hrs
                    Custodian.008 per quality control protocol.

01/23/2013   AEG    Post-Coding quality checks for ResCap                 L140     3.00 hrs
                    bankruptcy.

01/23/2013   ABW    E-mail from Ms. Marty regarding phase 3.              L190     0.10 hrs


01/24/2013   AMP    Attention to privilege issues regarding Marple        L120     0.20 hrs
                    memorandum.

01/24/2013   AMP    E-mails with Ms. Battle regarding privileged          L120     0.50 hrs
                    nature of Marple memorandum and issues
                    regarding Solomon's presence on memorandum.
01/24/2013   AMP    Revise privilege log entry for Marple                 L320     0.20 hrs
                    memorandum.

01/24/2013   AMP    Review research in database regarding treatment of    L320     0.30 hrs
                    other versions of Marple memorandum.

01/24/2013   AMP    Attention to status of privilege logs for Cerberus'   L320     0.50 hrs
                    December 5 and December 12 productions.

01/24/2013   AMP    E-mails with Mr. Barthel and Mr. Phillips             L320     0.20 hrs
                    regarding privilege logs for Cerberus' December 5
                    and December 12 productions.
01/24/2013   AMP    Attention to Marple memorandum log entries.           L320     0.50 hrs


01/24/2013   AMP    E-mails with Ms. Battle and Mr. Molnar regarding      L320     0.30 hrs
                    Marple memorandum log entries and basis for
                    common interest assertion.
01/24/2013   AMP    Revise privilege log entry for Marple                 L320     0.70 hrs
                    memorandum and circulate to Morrison & Foerster
                    team.
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01/24/2013   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)       L320     0.30 hrs
                    regarding status of review of 1800 Lazard
                    documents.
01/24/2013   AMP    Attention to review of 1800 Lazard documents.         L320     0.90 hrs


01/24/2013   JAL    Conference with Mr. Beck regarding preparation        L120     3.30 hrs
                    for upcoming examiner interviews. (.10) Meeting
                    with Mr. Sechler, Mr. Beck, Mr. Corcoran and Ms.
                    Mohler regarding key issues for upcoming
                    interviews. (1.20) Review and redraft preparation
                    outline for Mr. Cancelliere (1.1). Conference with
                    Mr. Beck regarding revising same (.10). Review
                    and respond to e-mails regarding interview
                    schedule and preparation coverage (.10). Review
                    and redraft case outline (.50). Conference with Mr.
                    Beck regarding revisions to same (.20).
01/24/2013   VLS    Monitor review status of document review team.        L320     1.60 hrs


01/24/2013   VLS    Assignment of document review batches to              L320     0.80 hrs
                    document review team members.

01/24/2013   VLS    Update document review status chart.                  L320     1.00 hrs


01/24/2013   VLS    Monitor review status of document review quality      L320     1.40 hrs
                    control team.

01/24/2013   VLS    Assignment of document review quality control         L320     0.70 hrs
                    batches to quality control team members.

01/24/2013   VLS    Update document review quality control status         L320     1.10 hrs
                    charts.

01/24/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.40 hrs
                    additional documents to image.

01/24/2013   VLS    Telephone conference with Mr. Shipler at DTI          L320     0.40 hrs
                    regarding document imaging.

01/24/2013   JES    Review materials in preparation for upcoming          L120     8.00 hrs
                    Examiner interviews. (6.00) Conference with Mr.
                    Lipps, Mr. Beck, Mr. Corcoran and Ms. Mohler
                    regarding strategy. (1.30) Conference with Mr.
                    Corcoran regarding strategy for upcoming
                    interviews. (.70)
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01/24/2013   RBS    Prepare notebook of Mr. Abreu interview exhibits     L310     1.00 hrs
                    for Mr. Lipps.

01/24/2013   RBS    Obtain additional support documents for UCC          L310     1.50 hrs
                    presentation to go into notebooks for Mr. Beck.

01/24/2013   RBS    Prepare master set of UCC presentation and           L310     2.30 hrs
                    corresponding documentation notebook for Mr.
                    Beck.
01/24/2013   TKI    Review e-mail documents for quality control          L120     2.90 hrs
                    purposes for Dondzilla 026 batch.

01/24/2013   JALB   Review materials for Examiner interview              L330     1.20 hrs
                    preparation meeting for Mr. Giertz.

01/24/2013   JALB   Attend preparation meeting with Mr. Giertz           L330     2.70 hrs
                    (former Residential Capital), Mr. Illovsky and Mr.
                    Day (Morrison & Foerster).
01/24/2013   JALB   Meet with Mr. Illovsky and Mr. Day (Morrison &       L120     0.40 hrs
                    Foerster) regarding coordination of outreach to
                    new list of former employee witnesses.
01/24/2013   JALB   Outreach to former employee witnesses regarding      L330     0.80 hrs
                    Examiner request for interview.

01/24/2013   JALB   Correspondence with Ms. Whitfield regarding          L120     0.30 hrs
                    consistency of privilege log entries for clawback
                    materials.
01/24/2013   JALB   Correspondence with internal Carpenter Lipps &       L120     0.40 hrs
                    Leland team regarding Examiner interview
                    preparation materials.
01/24/2013   DJB    Perform second level quality check of documents      L120     7.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/24/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/24/2013   MMM    Review documents and continue drafting outline       L120     6.70 hrs
                    for Mr. Casey's Examiner interview.
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01/24/2013   MMM    Conference with Mr. Lipps, Mr. Beck, Mr. Sechler,    L120     1.40 hrs
                    Mr. Corcoran, and Mr. Rhode regarding interview
                    preparation binders, outlines and process for next
                    set of interviews. (1.10) Research regarding
                    themes for upcoming interviews. (.30)
01/24/2013   DAB    Communicate with Mr. Rhode regarding revisions       L120     0.20 hrs
                    to Cancelliere preparation outline.

01/24/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/24/2013   DAB    Conference with Mr. Sechler, Mr. Corcoran and        L120     0.10 hrs
                    Ms. Mohler regarding research needed on
                    upcoming witnesses.
01/24/2013   DAB    Meeting with Mr. Lipps, Mr. Sechler, Mr.             L120     1.20 hrs
                    Corcoran and Ms. Mohler regarding issues for
                    upcoming witness interviews and themes examiner
                    is pursuing in interviews.
01/24/2013   DAB    Meeting with Mr. Corcoran and Mr. Sechler            L120     0.80 hrs
                    regarding key issues for upcoming examiner
                    witnesses and additional research which needs to
                    be conducted.
01/24/2013   DAB    E-mail with Ms. Battle regarding preparation team    L120     0.10 hrs
                    assignments for upcoming examiner interviews.

01/24/2013   DAB    Draft e-mail to Mr. Sechler, Ms. Mohler and Mr.      L120     0.30 hrs
                    Corcoran regarding UCC position on claims
                    against Ally.
01/24/2013   DAB    Conference with Ms. Mohler regarding issues on       L120     0.40 hrs
                    examiner interview of Mr. Casey.

01/24/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.30 hrs
                    regarding likely examiner topics for Mr.
                    Cancelliere.
01/24/2013   DAB    Analyze examiner provided topics and prep            L330     0.50 hrs
                    materials for interview of Mr. Cancelliere.

01/24/2013   DAB    Review and comment on draft Cancelliere outline.     L120     1.10 hrs


01/24/2013   JRC    Conference with Mr. Lipps, Ms. Mohler, Mr.           L120     0.90 hrs
                    Sechler, and Mr. Beck regarding preparation
                    materials for newly identified examiner witnesses.
01/24/2013   JRC    Conference with Mr. Beck and Mr. Sechler             L120     0.60 hrs
                    regarding issues addressed in previous examiner
                    interviews.
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01/24/2013   JRC    Review exhibits previously marked in examiner        L420     0.90 hrs
                    interviews in order to prepare materials for newly
                    identified examiner witnesses.
01/24/2013   JRC    Review documents in litigation databases in order    L320     3.70 hrs
                    to draft memoranda analyzing newly identified
                    examiner witnesses.
01/24/2013   JRC    Review deposition transcripts for newly identified   L330     1.60 hrs
                    examiner witnesses in order to draft memoranda
                    analyzing the witnesses.
01/24/2013   JDR    Draft correspondence to Mr. Serrano (Morrison &      L120     0.10 hrs
                    Foerster) regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/24/2013   JDR    Draft correspondence to Mr. Serrano (Morrison &      L120     0.10 hrs
                    Foerster) regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/24/2013   JDR    Draft outline in preparation for Mr. Cancelliere's   L420     2.00 hrs
                    interview related to likely areas of inquiry.

01/24/2013   JDR    Revise Mr. Cancelliere's preparation outline.        L420     0.50 hrs


01/24/2013   JDR    Compile notebooks of exhibits for Mr.                L420     2.70 hrs
                    Cancelliere's examiner interview preparation.

01/24/2013   JDR    Prepare documents and outline for Mr.                L420     2.00 hrs
                    Cancelliere's Examiner witness interview.

01/24/2013   JDR    Revise Mr. Cancelliere's preparation outline with    L420     0.70 hrs
                    comments and strategy from Mr. Serrano.

01/24/2013   SP     Review documents marked as privileged and            L320     1.10 hrs
                    provide descriptions for Cerberus privilege log.

01/24/2013   SP     Communicate with team regarding review of            L320     0.80 hrs
                    documents relating to Cerberus.

01/24/2013   GNM    Telephone communications with Ms. Wafalosky          L120     0.10 hrs
                    (Robert Half Legal) regarding termination of
                    project and retention of preferred reviewers.
01/24/2013   GNM    Drafting and sending e-mail to Ms. Klun (Lumen       L120     0.30 hrs
                    Legal) regarding termination of project and
                    retention of contract quality control team.
01/24/2013   GNM    Working in Discovery Partner gathering Pohl          L320     3.10 hrs
                    documents for witness preparation.

01/24/2013   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.30 hrs
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                    regarding non email data to be loaded and
                    reviewed.
01/24/2013   GNM    E-mail communications with Support at DTI            L120     0.20 hrs
                    regarding Phase 3 subproject annotation pane.

01/24/2013   GNM    Working in Cerberus database configuring data for    L320     0.50 hrs
                    production.

01/24/2013   GNM    Working in Phase 3 Subproject configuring data       L320     0.60 hrs
                    for review.

01/24/2013   GNM    Meeting with Ms. Sholl regarding production          L120     0.30 hrs
                    deadline.

01/24/2013   GNM    E-mail communications with contract review team      L120     0.40 hrs
                    regarding production deadline.

01/24/2013   GNM    Meeting with Ms. Paul-Whitfield regarding Lazard     L120     0.70 hrs
                    data.

01/24/2013   GNM    E-mail communication with Ms. Paul-Whitfield         L120     0.10 hrs
                    regarding privilege coding.

01/24/2013   GNM    Telephone communication with Ms.                     L120     0.10 hrs
                    Paul-Whitfield regarding privilege coding.

01/24/2013   AJM    Quality control review of documents withheld         L320     3.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/24/2013   AJM    Draft privilege log for documents produced in        L310     5.70 hrs
                    response to Examiner document requests, set
                    116/117.
01/24/2013   HLB    Complete quality control feedback form for batch     L120     0.40 hrs
                    Legacy Custodian.008 per quality control protocol.

01/24/2013   HLB    Perform quality control review of batch              L120     9.20 hrs
                    Hamzehpour Non-Email.002 per quality control
                    protocol.
01/24/2013   AEG    Post-Coding quality checks for Dondzilla batch 23    L140     1.30 hrs
                    for ResCap bankruptcy.

01/25/2013   AMP    Prepare spreadsheet regarding encrypted              L320     0.70 hrs
                    documents.

01/25/2013   AMP    E-mails with Mr. Phillips and Mr. Brown              L320     0.20 hrs
                    (Morrison & Foerster) regarding Lazard encrypted
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                    documents, phase 1.
01/25/2013   AMP    E-mails with Morrison & Foerster regarding             L320     0.70 hrs
                    Marple memorandum privilege log entry.

01/25/2013   AMP    Attention to clawback request.                         L320     0.30 hrs


01/25/2013   AMP    E-mails with Ms. Chinn (reviewer) regarding            L320     0.20 hrs
                    Lazard documents.

01/25/2013   AMP    Attention to encrypted documents.                      L320     0.40 hrs


01/25/2013   AMP    Attention to wave 2 of Lazard's encrypted              L320     0.50 hrs
                    documents and reviewing same.

01/25/2013   AMP    Telephone conference with Mr. Brown (Morrison          L320     0.30 hrs
                    & Foerster) regarding Lazard documents.

01/25/2013   AMP    Attention to privilege and professional eyes only      L320     1.20 hrs
                    review of Lazard's documents to respond to
                    Chadbourne's e-mail regarding encrypted
                    documents.
01/25/2013   AMP    Draft summary to Mr. Brown (Morrison &                 L320     0.40 hrs
                    Foerster) regarding privilege or professional eyes
                    only status of encrypted documents.
01/25/2013   AMP    Review e-mails from Mr. Harris (Morrison &             L320     0.30 hrs
                    Foerster) regarding privilege status of tax
                    allocation agreements.
01/25/2013   JAL    Participate on conference call with FTI and Ms.        L120     6.80 hrs
                    Battle to discuss presentation regarding ResCap
                    securitizations (.70). Call with Ms. Battle
                    regarding examiner preparation. (.50) Conference
                    to discuss Mr. Cancelliere's preparation materials
                    and supplemental outline (1.0). Review and revise
                    securitization presentation slides (.80). Revise Mr.
                    Cancelliere's outline (1.0). Review analysis of
                    backgrounds of additional witnesses examiner
                    seeks to interview (.70). Review and respond to
                    e-mails regarding examiner interviews and
                    preparation coverage (.30). Review Morrison
                    Foerster's preparation outline for Mr. Cancelliere
                    (.70). Conference with Mr. Rhode regarding issues
                    for examiner interview of Mr. Cancelliere. (.20)
                    Review e-mail reports on Mr. Giertz interview
                    (.20). Review and redraft supplemental outline for
                    Mr. Cancelliere (.70).
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01/25/2013   VLS    Monitor review status of document review team.         L320     1.40 hrs


01/25/2013   VLS    Assignment of document review batches to               L320     0.80 hrs
                    document review team members.

01/25/2013   VLS    Update document review status chart.                   L320     1.10 hrs


01/25/2013   VLS    Monitor review status of document review quality       L320     0.60 hrs
                    control team.

01/25/2013   VLS    Assignment of document review quality control          L320     0.40 hrs
                    batches to quality control team members.

01/25/2013   VLS    Update document review quality control status          L320     0.80 hrs
                    charts.

01/25/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding      L320     0.40 hrs
                    additional documents to be imaged.

01/25/2013   VLS    E-mail with document review team members               L320     0.20 hrs
                    regarding status of requested document images.

01/25/2013   VLS    E-mail exchange with document reviewer Mr.             L320     0.30 hrs
                    Hickey regarding document with numerous
                    attachments.
01/25/2013   JES    Prepare for and attend meeting in its preparation      L120     2.00 hrs
                    team for upcoming Examiner interviews. (1.20)
                    Review documents related to same. (.90)
01/25/2013   RBS    Prepare additional sets of UCC presentation            L310     2.60 hrs
                    notebooks to distribute for Mr. Beck.

01/25/2013   RBS    Draft index of support documents for UCC               L310     1.50 hrs
                    presentation notebooks for Mr. Beck.

01/25/2013   RBS    Upload Mr. Cancelliere interview preparation kit to    L310     0.30 hrs
                    Sharepoin for Mr. Beck.

01/25/2013   RBS    Prepare Morrison Foerster bank memo notebooks          L310     2.10 hrs
                    for Mr. Beck.

01/25/2013   RBS    Prepare alphabetical and chronological                 L310     0.30 hrs
                    spreadsheets of interview exhibits to distribute for
                    Mr. Beck.
01/25/2013   TKI    Review e-mail documents for quality control            L120     0.70 hrs
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                    purposes for Dondzilla 026 batch.

01/25/2013   JALB   Prepare for and attend interview of Mr. Giertz       L330     4.20 hrs
                    (former Residential Capital).

01/25/2013   JALB   Prepare notes of interview of Mr. Giertz (former     L330     1.10 hrs
                    Residential Capital).

01/25/2013   JALB   Telephone conference with Mr. Renzi and Mr.          L120     0.70 hrs
                    McDonald (FTI), and Mr. Lipps, regarding
                    background on securitization process per Mesirow
                    request.
01/25/2013   JALB   Follow-up outreach to new requested former           L330     0.50 hrs
                    employee witnesses.

01/25/2013   JALB   Correspondence with Mr. Sechler, Mr. Beck and        L120     0.80 hrs
                    Mr. Lipps regarding Examiner preparation.

01/25/2013   JALB   Telephone conference with Mr. Lipps regarding        L120     0.50 hrs
                    Examiner preparation.

01/25/2013   JALB   Begin collecting material for updated slides on      L330     0.40 hrs
                    securitization process (per Mr. Renzi's (FTI's)
                    request).
01/25/2013   DJB    Perform second level quality check of documents      L120     6.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/25/2013   DJB    Format privilege law, indicating specific reasons    L120     7.90 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/25/2013   MMM    Attend conference with Mr Lipps, Mr. Sechler, Mr.    L120     1.40 hrs
                    Beck, Mr. Corcoran, and Mr. Rhode regarding next
                    set of interviews to be scheduled and divide up
                    responsibility for preparation notebooks.
01/25/2013   DAB    Conference with Mr. Samson regarding backup          L120     0.20 hrs
                    materials for Kramer Levin presentation on claims.

01/25/2013   DAB    Research additional preparation materials for        L330     0.70 hrs
                    examiner interview of Mr. Pohl.
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01/25/2013   DAB    Conference with Mr. Lipps and Mr. Rhode               L120     1.00 hrs
                    regarding additional issues for interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Communicate with Mr. Rhode regarding additional       L120     0.20 hrs
                    preparation materials for interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Research additional materials on historical           L330     2.60 hrs
                    repurchase issues for examiner interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Draft supplemental outline for preparation of Mr.     L330     1.20 hrs
                    Cancelliere.

01/25/2013   DAB    Meeting with Mr. Lipps, Mr. Sechler, Mr.              L120     1.10 hrs
                    Corcoran, Mr. Rhode and Ms. Mohler regarding
                    examiner issues for additional February witnesses
                    and related work assignments.
01/25/2013   JRC    Conference with Mr. Lipps, Mr. Sechler, Mr. Beck,     L120     0.90 hrs
                    Mr. Rhode, and Ms. Moeller regarding witness
                    preparation for newly identified examiner
                    witnesses.
01/25/2013   JRC    Review documents in Discovery Partner in order to     L320     0.80 hrs
                    locate examiner interview preparation materials for
                    Ms. Battle.
01/25/2013   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    examiner interview preparation materials.

01/25/2013   JRC    Review documents in litigation databases in order     L320     2.40 hrs
                    to draft memoranda analyzing newly identified
                    examiner witnesses.
01/25/2013   JRC    Draft memoranda analyzing newly identified            L210     0.90 hrs
                    examiner witnesses.

01/25/2013   JRC    Review memoranda from previous examiner               L420     1.60 hrs
                    interviews in order to prepare examiner interview
                    materials for upcoming witnesses.
01/25/2013   JRC    Review examiner submissions on third-party            L420     0.40 hrs
                    releases in order to prepare for newly identified
                    examiner interviews.
01/25/2013   JDR    Revise preparation outline for Mr. Cancelliere's      L420     0.50 hrs
                    Examiner interview with comments and strategy
                    from Mr. Beck.
01/25/2013   JDR    Draft correspondence to Mr. Lipps, Ms. Battle, and    L120     0.10 hrs
                    Mr. Beck regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/25/2013   JDR    Review discovery produced and revise exhibits and     L320     1.90 hrs
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                    outline for upcoming Mr. Cancelliere's Examiner
                    interview preparation session.
01/25/2013   JDR    Conference with Mr. Lipps regarding Mr.                 L120     0.40 hrs
                    Cancelliere's Examiner interview preparation.

01/25/2013   JDR    Conference with Mr. Lipps and Mr. Beck                  L120     1.00 hrs
                    regarding Mr. Cancelliere's interview preparation.

01/25/2013   JDR    Revise Mr. Cancelliere's preparation outline with       L420     0.80 hrs
                    comments and strategy from Mr. Lipps.

01/25/2013   JDR    Review documents produced to create                     L320     2.30 hrs
                    supplemental exhibits and outline for Mr.
                    Cancelliere's Examiner interview preparation.
01/25/2013   JDR    Draft memorandum to Mr. Beck regarding timeline         L210     0.50 hrs
                    of exhibits and roles of Mr. Cancelliere to assist in
                    supplemental outline and exhibits.
01/25/2013   JDR    Conference with Mr. Lipps regarding upcoming            L420     1.00 hrs
                    Examiner interview preparation strategy and
                    designated witnesses.
01/25/2013   JDR    Prepare notebook with materials for upcoming            L420     0.20 hrs
                    designated Examiner interview diligence.

01/25/2013   SP     Review documents marked as privileged and               L320     3.40 hrs
                    provide descriptions for Cerberus privilege log.

01/25/2013   SP     Confer with Mr. Sechler regarding issues relating       L120     0.40 hrs
                    to the board meeting materials.

01/25/2013   SP     Review documents relating to Lazard in Relativity       L320     1.90 hrs
                    for privilege determinations and confidentiality
                    designations
01/25/2013   GNM    Drafting and sending e-mail communications to           L120     0.20 hrs
                    Mr. Underhill (Residential Capital) regarding
                    Novatus data.
01/25/2013   GNM    Drafting and sending e-mail communications to           L120     0.50 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM301/302.
01/25/2013   GNM    Formatting master cross reference to be sent to         L320     3.00 hrs
                    Chadbourne with clawback letter.

01/25/2013   GNM    Editing cover e-mail to be sent to Chadbourne with      L120     0.40 hrs
                    clawback cross reference.

01/25/2013   GNM    Updating production tracking chart.                     L320     1.90 hrs
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01/25/2013   GNM    Performing quality control checks on production       L320     0.70 hrs
                    EXAM301/302.

01/25/2013   GNM    Meeting with Mr. Phillips regarding Board             L120     0.30 hrs
                    Materials previously produced.

01/25/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.50 hrs
                    regarding data received on October 17.

01/25/2013   GNM    Working in Relativity database running analytics      L320     0.70 hrs
                    on Lazard data at request of Ms. Paul-Whitfield.

01/25/2013   AJM    Quality control review of documents withheld          L310     1.80 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/25/2013   AJM    Draft privilege log for documents produced in         L310     4.30 hrs
                    response to Examiner document requests, set
                    116/117.
01/25/2013   AJM    Draft privilege log for versions of 4/20/2006 Maple   L310     1.30 hrs
                    memorandum inadvertently produced to the
                    Examiner.
01/25/2013   SCM    Complete and transmit to Ms. Marty feedback           L320     0.20 hrs
                    forms regarding quality control document review
                    sets.
01/25/2013   AEG    Post-Coding quality checks for ResCap                 L140     1.00 hrs
                    bankruptcy.

01/26/2013   AMP    Attention to Cerberus logs for productions            L320     1.30 hrs
                    December 5 and December 12.

01/26/2013   AMP    E-mail with Cerberus' counsel regarding Cerberus      L320     0.20 hrs
                    logs for productions December 5 and December
                    12.
01/26/2013   AMP    Attention to privilege log for production 114/115.    L320     1.60 hrs


01/26/2013   AMP    Attention to wave 2 of Lazard potentially             L320     0.40 hrs
                    privileged, encrypted documents.

01/26/2013   AMP    E-mails to Mr. Brown (Morrison & Foerster)            L320     0.20 hrs
                    regarding wave 2 of Lazard potentially privileged,
                    encrypted documents.
01/26/2013   JAL    Review and redraft Mr. Cancelliare's preparation      L120     4.00 hrs
                    outline (.50). Review Mr. Cancelliare's documents
                    to prepare for examiner interview (1.1). Review
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                    Mr. Casey's documents (2.0). Review e-mails
                    from Mr. Beck regarding same (.20). Review
                    e-mails regarding Mr. Pohl's interview (.20).
01/26/2013   JES    Review Blitzer deposition transcript in preparation   L330     4.00 hrs
                    for drafting outline for upcoming Examiner
                    interview.
01/26/2013   MMM    Continue to review documents and draft                L120     4.00 hrs
                    preparation outline for Mr. Casey's Examiner
                    interview.
01/26/2013   DAB    Multiple e-mails with Mr. Lipps regarding issues      L120     0.30 hrs
                    for examiner interview of Mr. Casey.

01/26/2013   DAB    Conference with Mr. Lipps regarding additional        L120     0.10 hrs
                    research needed for examiner interview of Mr.
                    Casey.
01/26/2013   DAB    Multiple e-mails with Ms. Mohler regarding            L120     0.20 hrs
                    additional research needed for examiner interview
                    of Mr. Casey.
01/26/2013   DAB    Research discovery materials for items relevant to    L330     1.80 hrs
                    interview of Mr. Pohl.

01/26/2013   SP     Review documents marked as privileged and             L320     0.50 hrs
                    provide descriptions for Cerberus privilege log.

01/26/2013   GNM    Working in Discovery Partner database redacting       L320     0.50 hrs
                    items for production.

01/26/2013   AJM    Draft privilege log for documents produced in         L310     0.70 hrs
                    response to Examiner document requests, set
                    116/117.
01/27/2013   JAL    Review and redraft Mr. Casey's preparation outline    L120     6.50 hrs
                    (.90). Review Mr. Casey's documents to prepare
                    for examiner interview (2.5). Review Mr.
                    Cancelliere's 9019 deposition transcript (2.0).
                    Review Mr. Cancelliere's documents compiled by
                    Morrison Foerster from additional databases (.90).
                    Review e-mails regarding Mr. Lazard's production
                    and Mr. Pohl's preparation (.20).
01/27/2013   VLS    Update quality control document review status         L320     0.40 hrs
                    chart.

01/27/2013   VLS    Monitor review status of final clean-up batches in    L320     0.40 hrs
                    order to comply with January 31st production
                    deadline.
01/27/2013   VLS    E-mail exchange with Ms. Marty regarding status       L320     0.30 hrs
                    of Phase 3 first level review and Phase 2 quality
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                    control review.
01/27/2013   JES    Complete review of Blitzer deposition transcript.     L120     1.50 hrs


01/27/2013   DAB    Research discovery materials for items relevant to    L330     6.20 hrs
                    interview of Mr. Pohl.

01/27/2013   DAB    E-mail Mr. Day (Morrison & Foerster) regarding        L120     0.30 hrs
                    questions regarding Lazard document production.

01/27/2013   DAB    Draft analysis on additional materials for examiner   L330     2.90 hrs
                    interview of Mr. Pohl.

01/27/2013   DAB    Communicate with Ms. Levitt (Morrison &               L120     0.10 hrs
                    Foerster) regarding UCC presentation on claims
                    against Ally.
01/27/2013   JRC    Review and analyze documents in Discovery             L320     0.70 hrs
                    Partner in order to locate materials for Lazard
                    examiner witnesses.
01/27/2013   JRC    Review, analyze, and summarize deposition             L330     5.70 hrs
                    transcript of Mr. Scholtz in order to prepare his
                    examiner interview materials.
01/27/2013   SP     Review documents marked as privileged and             L320     0.80 hrs
                    provide descriptions for Cerberus privilege log.

01/27/2013   SP     Communicate with contract reviewer and Ms.            L320     0.70 hrs
                    Marty regarding review of Cerberus documents.

01/27/2013   GNM    Working in Discovery Partner database performing      L320     2.10 hrs
                    second level review on Olson2 025 batch as
                    outlined in the Quality Control Protocol.
01/27/2013   GNM    Working in Discovery Partner database performing      L320     0.60 hrs
                    quality control checks on production set P3
                    1-26-13.
01/27/2013   GNM    Working in Discovery Partner database performing      L320     0.60 hrs
                    quality control checks on production set 1-28-13.

01/27/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-26-13.
01/27/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-28-13.
01/27/2013   GNM    Drafting Phase 3 Quality Control Protocol.            L320     0.80 hrs
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01/27/2013   AJM    Quality control review of documents withheld           L310     0.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/27/2013   AJM    Draft privilege log for documents produced in          L310     1.30 hrs
                    response to Examiner document requests, set
                    116/117.
01/27/2013   AEG    Post-Coding quality checks for Redmond batch 9         L140     4.00 hrs
                    for ResCap bankruptcy.

01/28/2013   AMP    Review e-mails from Cerberus' counsel regarding        L320     1.00 hrs
                    Ally's draft addition to supplemental privilege log.

01/28/2013   AMP    Attention to Lazard 19 additional encrypted            L320     0.80 hrs
                    documents.

01/28/2013   AMP    Review e-mails regarding Lazard 19 additional          L320     0.30 hrs
                    encrypted documents.

01/28/2013   AMP    Determine privilege treatment of Lazard 19             L320     0.40 hrs
                    additional encrypted documents.

01/28/2013   AMP    E-mails with Ms. Battle regarding Bryan Cave           L120     0.20 hrs
                    attorneys involved for litigation hold purposes.

01/28/2013   AMP    Attention to completing December 5 privilege log.      L320     0.40 hrs


01/28/2013   AMP    E-mails to Kirkland & Ellis and Cerberus' counsel      L320     0.20 hrs
                    regarding December 5 privilege log.

01/28/2013   AMP    Attention to clawback request of Marple                L320     1.10 hrs
                    memorandum and response of Examiner's counsel.

01/28/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.40 hrs
                    regarding clawback request of Marple
                    memorandum and response of Examiner's counsel.
01/28/2013   AMP    Attention to GSE issues.                               L320     0.30 hrs


01/28/2013   AMP    E-mails with Ms. Marty regarding GSE issues.           L320     0.20 hrs


01/28/2013   AMP    Prepare privilege log for production 110/111 for       L320     1.00 hrs
                    production know that GSE issue resolved.

01/28/2013   AMP    Prepare privilege log for production 112/113 for       L320     1.10 hrs
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                    production now that GSE issue resolved.

01/28/2013   JAL    Review Mr. Cancelliere's documents to prepare for    L120     7.70 hrs
                    examiner interview (.50). Conference with Ms.
                    Levitt (Morrison & Foerster) and Mr. Cancelliere
                    to prepare for examiner interview (5.6). Telephone
                    conference with Ms. Battle, Mr. Renzi (FTI) and
                    Mr. McDonald to discuss securitization process
                    (.70). Review and respond to e-mails regarding
                    interview schedule and preparation coverage (.20).
                    Review Mr. Casey's outline and documents (.20).
                    Reviews e-mails regarding Mr. Pohl's materials
                    and preparation coverage (.20). Review and
                    respond to e-mails regarding scope of swap (.30).
01/28/2013   VLS    Multiple e-mail exchanges with Mr. Shipler at DTI    L320     0.60 hrs
                    regarding documents to be imaged.

01/28/2013   VLS    E-mail exchange with document reviewer, Mr.          L320     0.20 hrs
                    Ritzler, regarding finalizing last batch review.

01/28/2013   VLS    Multiple e-mail exchanges with Ms. Marty             L320     0.60 hrs
                    regarding status of Phase 2 quality control
                    document review and Phase 3 first level document
                    review.
01/28/2013   VLS    Update chart of document review quality control      L320     0.70 hrs
                    team members.

01/28/2013   VLS    E-mail exchange with Mr. Bennett in IT regarding     L320     0.30 hrs
                    changes to group e-mail list for quality control
                    team members.
01/28/2013   VLS    E-mail exchanges with Mr. Shipler at DTI             L320     0.30 hrs
                    regarding additional user to Discovery Partner
                    database.
01/28/2013   JES    E-mail Ms. Battle regarding assignments for final    L120     0.50 hrs
                    phase of Examiner interviews.

01/28/2013   RBS    Download Mr. Smith interview exhibits to U-Drive     L310     0.20 hrs
                    for Mr. Beck.

01/28/2013   RBS    Update UCC presentation notebooks with               L310     1.20 hrs
                    additional and corrected materials for Mr. Beck.

01/28/2013   JALB   Discussion with Mr. Corcoran regarding Scholtz       L120     0.20 hrs
                    preparation materials.

01/28/2013   JALB   Participate in client weekly update call on          L120     0.30 hrs
                    litigation, document retention, and
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                    transition/separation issues.
01/28/2013   JALB   Discussion with Mr. Brown (Morrison & Foerster)       L120     0.30 hrs
                    regarding status of documentation collection and
                    production.
01/28/2013   JALB   Follow-up with Ms. Marty regarding privilege          L120     0.30 hrs
                    review.

01/28/2013   JALB   Attention to witness interview scheduling and         L330     0.40 hrs
                    retention issues.

01/28/2013   JALB   Revise slides regarding securitization overview for   L120     0.80 hrs
                    Mesirow.

01/28/2013   DJB    Perform second level quality check of documents       L120     7.40 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/28/2013   DJB    Format privilege law, indicating specific reasons     L120     5.90 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/28/2013   MMM    Continue to review documents and draft outline for    L120     7.70 hrs
                    Mr. Casey's Examiner interview. (7.20) Multiple
                    conferences with Mr. Beck regarding same. (.50)
01/28/2013   DAB    Conference with Ms. Mohler regarding examiner         L120     0.10 hrs
                    preparation outline for Mr. Casey.

01/28/2013   DAB    Multiple conferences with Ms. Mohler regarding        L120     0.40 hrs
                    additional financial analysis needed for examiner
                    interview of Mr. Casey.
01/28/2013   DAB    Multiple e-mails with Ms. Mohler regarding issues     L120     0.30 hrs
                    relating to preparation outlines for examiner
                    interview of Mr. Casey.
01/28/2013   DAB    Review and comment on outline for examiner            L330     0.60 hrs
                    interview of Mr. Casey.

01/28/2013   DAB    Communicate with Mr. Samson regarding backup          L120     0.10 hrs
                    materials for UCC presentation on claims against
                    Ally.
01/28/2013   DAB    Communicate with Ms. Vasiliu (Morrison &              L120     0.10 hrs
                    Foerster) regarding supporting information for
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                    UCC presentation on claims against Ally.
01/28/2013   DAB    Communicate with Mr. Corcoran regarding                 L120     0.20 hrs
                    research needed on recent decisions in MBIA v.
                    Credit Suisse case.
01/28/2013   DAB    Draft analysis regarding additional materials for       L330     4.40 hrs
                    examiner interview preparation for Mr. Pohl.

01/28/2013   DAB    Communicate with Mr. Corcoran regarding                 L120     0.20 hrs
                    additional materials needed related to Mr. Pohl.

01/28/2013   DAB    Comment on supplemental materials for examiner          L120     0.80 hrs
                    interview of Mr. Casey.

01/28/2013   DAB    E-mails with Ms. Levitt (Morrison & Foerster) and       L120     0.30 hrs
                    Mr. Lipps regarding issues related to loan
                    purchases from Ally bank.
01/28/2013   JRC    Conference with Mr. Beck regarding examiner             L120     0.10 hrs
                    preparation materials for Lazard witnesses.

01/28/2013   JRC    Review and analyze documents in Discovery               L320     1.60 hrs
                    Partner in order to locate materials relevant to the
                    examiner's interview of Lazard witnesses.
01/28/2013   JRC    Review, analyze, and summarize deposition               L330     4.10 hrs
                    transcript of Ms. Lundsten in order to prepare
                    examiner interview materials.
01/28/2013   JRC    Review, analyze, and summarize deposition               L330     2.60 hrs
                    transcript of Mr. Scholtz in order to prepare his
                    examiner interview materials. (2.40) Conference
                    with Ms. Battle regarding same. (.20)
01/28/2013   JRC    Review and analyze examiner submissions on              L320     0.90 hrs
                    third-party releases in order to prepare examiner
                    materials for newly identified witnesses.
01/28/2013   JDR    Review claims presentation by Kramer Levin and          L320     1.60 hrs
                    discovery documents produced in preparation for
                    examiner witness diligence.
01/28/2013   SP     Review documents marked as privileged and               L320     8.30 hrs
                    provide descriptions for Cerberus privilege log.

01/28/2013   SP     Review and revise Cerberus privilege log to             L320     3.60 hrs
                    account for affiliation of the senders and recipients
                    of the e-mails, documents that are only partially
                    privilege, and other issues.
01/28/2013   GNM    Drafting and editing Phase 3 Quality Control            L320     2.00 hrs
                    Protocol.
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01/28/2013   GNM    Drafting and sending e-mails to quality control      L120     0.60 hrs
                    team regarding status and production deadline.

01/28/2013   GNM    Telephone communications with Mr. Salerno, Mr.       L120     0.50 hrs
                    Brown, and Mr. Day (Morrison & Foerster)
                    regarding subservicing replacement.
01/28/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding EXAM00233957.

01/28/2013   GNM    Quality Control training.                            L320     0.70 hrs


01/28/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Chinn and Ms. Searls (Contract Quality
                    Control Team) regarding review of potentially
                    privileged documents from Morrison Cohen.
01/28/2013   GNM    Drafting and sending Phase 3 Quality Control         L320     0.60 hrs
                    instructions to quality control team.

01/28/2013   GNM    Working in Discovery Partner database performing     L320     1.10 hrs
                    quality control on production set 1-29-13.

01/28/2013   GNM    Reviewing potentially privileged items from          L320     2.10 hrs
                    Morrison Cohen.

01/28/2013   GNM    Working in Discovery Partner performing quality      L320     0.60 hrs
                    control checks on EXAM140/141.

01/28/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM140/141.
01/28/2013   GNM    Working in Cerberus database configuring data for    L320     3.60 hrs
                    production.

01/28/2013   AJM    Identify instances where Bryan Cave attorneys        L310     0.30 hrs
                    appear on Examiner privilege logs drafted to date.

01/28/2013   AJM    Quality control review of documents withheld         L310     0.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/28/2013   AJM    Draft privilege log for documents produced in        L310     2.60 hrs
                    response to Examiner document requests, set
                    116/117.
01/28/2013   SCM    Review of 3rd round quality control protocol.        L320     0.20 hrs
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01/28/2013   SCM    Review of 3rd round quality control review group        L320     0.30 hrs
                    17.

01/28/2013   AEG    Post-Coding quality checks for Redmond batch 9          L140     6.00 hrs
                    and Dondzilla batch 24 for ResCap bankruptcy.

01/28/2013   ABW    E-mail from Ms. Marty regarding phase 3                 L190     0.10 hrs
                    protocols.

01/28/2013   ABW    Review regarding phase 3 protocols.                     L140     0.30 hrs


01/28/2013   LWS    Review regarding quality control for phase 3 for        L140     1.50 hrs
                    ResCap bankruptcy.

01/29/2013   AMP    Attention to finalizing supplement privilege log of     L320     0.40 hrs
                    Cerberus documents involving common interest
                    with ResCap from December 5 production.
01/29/2013   AMP    Multiple e-mails with Kirkland & Ellis and              L320     0.30 hrs
                    Cerberus' counsel regarding finalizing supplement
                    privilege log of Cerberus documents involving
                    common interest with ResCap from December 5
                    production.
01/29/2013   AMP    E-mails with Mr. Phillips regarding finalizing          L320     0.20 hrs
                    supplement privilege log of Cerberus documents
                    involving common interest with ResCap from
                    December 5 production.
01/29/2013   AMP    Attention to resolution of privilege logging staffing   L120     0.30 hrs
                    issues.

01/29/2013   AMP    Conference with Ms. Marty and Ms. Battle                L120     0.40 hrs
                    regarding resolution of privilege logging staffing
                    issues.
01/29/2013   AMP    E-mails with Morrison & Foerster team regarding         L120     0.40 hrs
                    proposed resolution of computer-generated logs.

01/29/2013   JAL    Conference with Mr. Cancelliere and Ms. Levitt          L120     9.00 hrs
                    (Morrison & Foerster) to prepare for examiner
                    interview (1.0). Participate at Mr. Cancelliere's
                    interview (5.5). Review Mr. Casey's documents to
                    prepare for examiner interview (1.3). Review and
                    redraft Mr. Blitzer's preparation outline (.50).
                    Review and respond to e-mails regarding examiner
                    interview schedule and preparation coverage (.10).
                    Review and redraft summaries of third party claims
                    analysis (.20). Communicate with Ms. Battle
                    regarding same (.40).
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01/29/2013   VLS    Research internal database for information              L110     0.80 hrs
                    regarding HE manuals and HELOC product
                    summaries.
01/29/2013   VLS    E-mail exchange with Ms. Battle and Ms. Marty           L110     0.20 hrs
                    regarding HE manuals and HELOC product
                    summaries.
01/29/2013   VLS    Update master spread sheet containing information       L320     1.10 hrs
                    regarding project document reviewers.

01/29/2013   VLS    Preparation of list of contract document reviewers      L320     0.70 hrs
                    to be removed from Discovery Partner database
                    due to completion of first level document review.
01/29/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding       L320     0.30 hrs
                    removal of individuals accounts from Discovery
                    Partner database.
01/29/2013   JES    Draft examiner interview potential topic                L120     3.00 hrs
                    memorandum related to Sandy Blitzer. (2.80)
                    E-mail Mr. Lipps regarding same. (.20)
01/29/2013   RBS    Prepare notebook of Mr. Abreu documents of              L310     1.10 hrs
                    interest for Mr. Lipps.

01/29/2013   JALB   Revise slides on securitization overview.               L120     2.40 hrs


01/29/2013   JALB   Correspondence with Mr. Lipps regarding slides on       L120     0.40 hrs
                    securitization overview.

01/29/2013   JALB   Meet with Ms. Marty regarding status and progress       L120     0.70 hrs
                    of rolling document productions and estimated
                    completion of same.
01/29/2013   JALB   Discussion with Mr. Corcoran regarding                  L120     0.20 hrs
                    preparation for Scholtz witness interview.

01/29/2013   JALB   Prepare file memorandum at request of Ms. Levitt        L120     2.60 hrs
                    (Morrison & Foerster) regarding pre-petition
                    discussion of third party claims.
01/29/2013   JALB   Discussion with Mr. Lipps regarding pre-petition        L120     0.30 hrs
                    discussion of third party claims.

01/29/2013   JALB   Correspondence with quality control team and Mr.        L120     0.70 hrs
                    Lipps regarding staffing and status of project. (.30)
                    Meeting with Ms. Paul-Whitfield and Ms. Marty
                    regarding privilege log staffing issues. (.40)
01/29/2013   DJB    Perform second level quality check of documents         L120     5.60 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
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                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/29/2013   DJB    Format privilege law, indicating specific reasons      L120     6.30 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/29/2013   MMM    Review Kramer Levin presentation on claims             L120     2.00 hrs
                    against Ally/ResCap and memorandum that goes
                    with it to get a better understanding of Examiner's
                    interest.
01/29/2013   MMM    Read Steinhagen MBIA deposition to determine           L120     4.20 hrs
                    possible topics for Examiner interview.

01/29/2013   MMM    Create liquidity chart to show changes over time       L120     1.40 hrs
                    for Mr. Casey's Examiner interview.

01/29/2013   MMM    Review Morrison & Foerster claims presentation to      L120     0.90 hrs
                    understand the potential claims against Ally.

01/29/2013   DAB    Communicate with Mr. MacCardle (Morrison &             L120     0.10 hrs
                    Foerster) regarding preparation materials for
                    interview of Mr. Casey.
01/29/2013   DAB    Communicate with Mr. Samson regarding new              L120     0.20 hrs
                    materials loaded to Sharepoint by Morrison &
                    Foerster.
01/29/2013   DAB    E-mail Ms. Lowenberg (Morrison & Foerster)             L120     0.20 hrs
                    regarding examiner documents related to Mr.
                    Abreu.
01/29/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)         L120     0.10 hrs
                    regarding production of additional materials related
                    to Mr. Marple to examiner.
01/29/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding prepetition meeting with Morrison &
                    Foerster on claims.
01/29/2013   DAB    E-mail Ms. Battle regarding structure on GMACM         L120     0.30 hrs
                    deals.

01/29/2013   DAB    Conference with Ms. Mohler regarding cash flow         L120     0.30 hrs
                    and liquidity analysis.
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01/29/2013   DAB    Communicate with Ms. Marty regarding access to       L120     0.20 hrs
                    discovery databases.

01/29/2013   JRC    Conference with Ms. Battle regarding examiner        L120     0.20 hrs
                    interview preparation materials for Ms. Lundsten
                    and Mr. Scholtz.
01/29/2013   JRC    Conference with Ms. Paul-Whitfield regarding         L120     0.10 hrs
                    privilege logs for examiner materials.

01/29/2013   JRC    Review, analyze, and summarize deposition            L330     2.90 hrs
                    transcript of Ms. Lundsten in order to prepare
                    examiner interview materials.
01/29/2013   JRC    Review and analyze examiner submissions on           L120     0.40 hrs
                    third-party releases in order to prepare examiner
                    materials for newly identified witnesses.
01/29/2013   JDR    Review and analyze presentations and documents       L320     2.50 hrs
                    produced in preparation for Ms. Wiebe interview.

01/29/2013   JDR    Draft outline notes of presentations and documents   L320     0.30 hrs
                    produced to Examiner in preparation for Ms.
                    Wiebe interview.
01/29/2013   SP     Review documents that were password protected in     L320     1.80 hrs
                    Relativity and summarize contents for Ms. Paul
                    Whitfield.
01/29/2013   GNM    Meeting with Ms. Battle regarding production         L120     1.00 hrs
                    status and potentially privileged items from
                    Morrison Cohen. (.70) Follow up on same. (.30)
01/29/2013   GNM    Working in Discovery Partner database performing     L320     0.70 hrs
                    quality control on production set 1-29-13.

01/29/2013   GNM    Drafting e-mail memorandum regarding potentially     L120     2.50 hrs
                    privileged items from Morrison Cohen.

01/29/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.50 hrs
                    regarding production pipeline.

01/29/2013   GNM    Working in Discovery Partner performing quality      L320     0.60 hrs
                    control checks on EXAM142/143.

01/29/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM142/143.
01/29/2013   GNM    Working in Cerberus database performing quality      L320     6.20 hrs
                    control checks on 1/24/13 data set.
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01/29/2013   GNM    Working in Subservicing database gathering            L320     0.10 hrs
                    document to be used for witness preparation.

01/29/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.60 hrs
                    (Schulte Roth) regarding Cerberus data.

01/29/2013   GNM    Drafting and sending e-mail to Ms. Namath (H5)        L120     0.40 hrs
                    and Ms. Gardiner (Schulte Roth) regarding corrupt
                    items in Cerberus database.
01/29/2013   GNM    Working in Discovery Partner database.                L320     1.20 hrs


01/29/2013   GNM    E-mail communications with Mr. Hoelzel                L120     0.20 hrs
                    (Contract quality control team) regarding privilege
                    designations of Cerberus data.
01/29/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.40 hrs
                    regarding release of production set 1-29-13.

01/29/2013   GNM    E-mail communications with Ms. Chinn (Contract        L120     0.30 hrs
                    quality control Team) regarding documents sent
                    my Morrison Cohen.
01/29/2013   GNM    Researching role of administrative professionals      L320     0.60 hrs
                    identified by Morrison & Foerster.

01/29/2013   GNM    Meeting with Ms. Paul-Whitfield and Ms. Battle        L120     0.70 hrs
                    regarding privilege logs. (.40) Follow-up on same.
                    (.30)
01/29/2013   AJM    Quality control review of documents withheld          L310     3.80 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/29/2013   AJM    Draft privilege log for documents produced in         L310     6.20 hrs
                    response to Examiner document requests, set
                    116/117.
01/29/2013   HLB    Perform quality control examiner review of batch      L120     5.80 hrs
                    "Phase 3-Set 1.002," per quality control examiner
                    protocol.
01/29/2013   AEG    Revise privilege log regarding ResCap bankruptcy.     L140     5.50 hrs


01/29/2013   ABW    Document review regarding quality control, Phase      L140     1.00 hrs
                    3, Set 1.033.

01/29/2013   LWS    Quality control review batch for ResCap               L140     3.00 hrs
                    bankruptcy.

01/30/2013   AMP    Attention to finalizing supplement privilege log of   L320     0.50 hrs
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                    Cerberus documents involving common interest
                    with ResCap from December 12 production.
01/30/2013   AMP    Multiple e-mails with Kirkland & Ellis and            L320     0.30 hrs
                    Cerberus' counsel regarding supplement privilege
                    log of Cerberus documents involving common
                    interest with ResCap from December 12
                    production.
01/30/2013   AMP    E-mails with Mr. Barthel regarding finalizing         L320     0.20 hrs
                    supplement privilege log of Cerberus documents
                    involving common interest with ResCap from
                    December 12 production.
01/30/2013   AMP    Attention to privilege log status for 110/111,        L320     0.40 hrs
                    112/113, and 114/115 for production.

01/30/2013   AMP    Finalize privilege log for 114/115 production.        L320     0.80 hrs


01/30/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.30 hrs
                    regarding privilege log status for 110/111,
                    112/113, and 114/115 for production.
01/30/2013   AMP    Attention to computer generated log timing as an      L320     0.90 hrs
                    alternative to more detailed logs. (.50) Meet with
                    Ms. Battle and Ms. Marty regarding privilege
                    issues. (.40)
01/30/2013   JAL    Review Mr. Casey's materials to prepare for           L120     9.00 hrs
                    preparation meeting (2.5). Review and redraft Mr.
                    Casey's preparation outline (.50). Review Mr.
                    Casey's documents complied by Morrison Foerster
                    from additional databases (1.0). Review Mr.
                    Casey's topic list from examiner (.20). Conference
                    with Mr. Day and Mr. Illovsky (Morrison &
                    Foerster) to prepare for Mr. Casey's preparation
                    (.30). Conference with Mr. Casey, Mr. Day and
                    Mr. Illovsky (Morrison & Foerster) to prepare for
                    examiner interview (3.7). Review and redraft
                    slides for presentation of securitization process
                    (.30). Conference with Ms. Battle regarding same
                    (.20). Review Tarp report for assist in preparation
                    of examiner interviews (.30).
01/30/2013   VLS    Monitor review status of Phase 3 quality control      L320     0.40 hrs
                    review.

01/30/2013   VLS    Update review status tracking spreadsheet.            L320     0.80 hrs


01/30/2013   RBS    Obtain support materials for Ally presentation for    L310     3.60 hrs
                    Mr. Beck.
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01/30/2013   JALB   Meet with Ms. Marty and Ms. Paul-Whitfield              L120     0.40 hrs
                    regarding privilege log and quality control staffing.

01/30/2013   JALB   Strategy for Ms. Hamzehpour's privilege log.            L330     0.20 hrs


01/30/2013   JALB   Revise slides on securitization overview.               L120     3.60 hrs


01/30/2013   JALB   Review draft letter regarding third party claims.       L120     0.20 hrs


01/30/2013   JALB   Telephone conference with Mr. Salerno, Mr.              L120     0.50 hrs
                    Brown, Mr. Day (all Morrison & Foerster), Ms.
                    Marty regarding status and resolution of FRB and
                    GSE privilege and confidentiality issues.
01/30/2013   JALB   Discussion with Ms. Mohler regarding Ms.                L120     0.30 hrs
                    Steinhagen's preparation materials.

01/30/2013   JALB   Telephone conference with former employee               L120     0.60 hrs
                    witnesses regarding interview preparation and
                    scheduling.
01/30/2013   JALB   Correspondence with Mr. Lipps regarding former          L120     0.20 hrs
                    employee witnesses regarding interview
                    preparation and scheduling.
01/30/2013   JALB   Discussion with Ms. Levitt (Morrison & Foerster)        L120     0.30 hrs
                    regarding pre-petition discussion of third-party
                    claims and draft letter regarding same.
01/30/2013   DJB    Perform second level quality check of documents         L120     3.20 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/30/2013   DJB    Format privilege law, indicating specific reasons       L120     1.40 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/30/2013   MMM    Review documents and begin draft of potential           L120     3.10 hrs
                    topics list for Steinhagen Examiner interview.

01/30/2013   DAB    Communicate with Mr. Lipps and Ms. Battle               L120     0.20 hrs
                    regarding previous Morrison & Foerster work
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                    product related to examiner interview of Mr.
                    Bricker.
01/30/2013   DAB    Communicate with Ms. Mohler regarding               L120     0.10 hrs
                    examiner topics list for Mr. Casey.

01/30/2013   DAB    Communicate with Ms. Battle regarding Ally          L120     0.20 hrs
                    response to UCC presentation on claims.

01/30/2013   DAB    Communicate with Mr. Samson regarding research      L120     0.10 hrs
                    needed on materials referenced in Ally
                    presentation.
01/30/2013   DAB    Review and analyze Ally presentation on 3rd party   L120     1.80 hrs
                    claims.

01/30/2013   DAB    Research regarding 3rd party documents cited in     L120     0.90 hrs
                    Ally presentation.

01/30/2013   DAB    Communicate with Mr. Lipps and Ms. Battle           L120     0.20 hrs
                    regarding interview of Mr. Bier.

01/30/2013   JRC    Review and analyze exhibits previously marked in    L320     0.60 hrs
                    examiner interviews in order to prepare Ms.
                    Lundsten's examiner materials.
01/30/2013   JRC    Review and analyze documents relating to Mr.        L320     0.70 hrs
                    Scholtz in Discovery Partner in order to prepare
                    memorandum analyzing his relevance to examiner
                    investigation.
01/30/2013   JRC    Review and analyze documents relating to Ms.        L320     1.10 hrs
                    Lundsten in Discovery Partner in order to prepare
                    memorandum analyzing her relevance to examiner
                    investigation.
01/30/2013   JRC    Review and analyze Ally's PowerPoint in response    L320     0.90 hrs
                    to the UCC's analysis of the Debtors' claims
                    against Ally in order to prepare examiner witness
                    materials.
01/30/2013   JRC    Draft summary of Ms. Lundsten's deposition          L330     1.30 hrs
                    transcript in order to prepare her examiner
                    preparation materials.
01/30/2013   JDR    Draft correspondence to Mr. Beck regarding          L120     0.10 hrs
                    examiner witness preparation.

01/30/2013   JDR    Review and analyze prior deposition of Ms. Wiebe    L120     0.50 hrs
                    in preparation for Examiner interview.

01/30/2013   GNM    Telephone communications with Ms. Battle and        L120     0.60 hrs
                    Morrison & Foerster team regarding Regulatory
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                    Privilege logs.
01/30/2013   GNM    Meeting with Ms. Battle and Ms. Paul-Whitfield        L120     0.60 hrs
                    regarding privilege logs. (.40) Follow-up on same.
                    (.20)
01/30/2013   GNM    Researching in Subservicing data to track the         L320     0.10 hrs
                    switch in confidentiality coding from original
                    production to replacement production.
01/30/2013   GNM    Working in Discovery Partner database                 L320     0.90 hrs
                    configuring non e-mail data for production.

01/30/2013   GNM    Performing quality control checks on                  L320     0.90 hrs
                    EXAM307/308.

01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM307/308.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM305/306.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM143/144/145.
01/30/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.50 hrs
                    (Schulte Roth) regarding Cerberus data.

01/30/2013   GNM    Telephone communications with Mr. Lawrence            L120     0.70 hrs
                    (Morrison & Foerster) and Morrison Cohen
                    regarding possibly privileged items to be produced.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) regarding release of Cerberus
                    data for production.
01/30/2013   AJM    Quality control review of documents withheld          L310     4.30 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/30/2013   AJM    Draft privilege log for documents produced in         L310     6.40 hrs
                    response to Examiner document requests, set
                    116/117.
01/30/2013   HLB    Perform quality control examiner review of batch      L120     5.10 hrs
                    "Phase 3-Set 1.002," per quality control examiner
                    protocol.
01/30/2013   AEG    Privilege re-review of documents in privilege batch   L140     2.00 hrs
                    4.

01/30/2013   ABW    Document review regarding quality control, Phase      L140     3.30 hrs
                    3, Set 1.033.
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01/31/2013   AMP    Attention to revising privilege log for production     L210     1.50 hrs
                    116/117.

01/31/2013   AMP    Attention to imaging issues for redactions.            L320     0.30 hrs


01/31/2013   AMP    E-mails with Mr. Molnar regarding imaging issues       L320     0.20 hrs
                    for redactions.

01/31/2013   JAL    Review Mr. Casey's documents to prepare for            L120     7.80 hrs
                    examiner interview (.80). Conference with Mr.
                    Casey to prepare for examiner interview (.50).
                    Participate at Mr. Casey's interview (4.8). Review
                    ResCap securitization powerpoint (.50).
                    Telephone conference with Ms. Battle and Mr.
                    Renzi (FTI) regarding same (.70). Review Tarp
                    report to prepare for examiner interviews (.30).
                    Review and respond to e-mails regarding examiner
                    interview schedule and preparation coverage (.20).
01/31/2013   VLS    Assignment of Phase 3 quality control document         L320     0.60 hrs
                    review batches.

01/31/2013   VLS    Update document review quality control tracking        L320     0.60 hrs
                    spreadsheet.

01/31/2013   VLS    Receipt and review of Hard Bound materials             L320     2.60 hrs
                    belonging to Mr. Marple which was provided by
                    Mr. Marple at recent witness interview.
01/31/2013   VLS    Preparation of Hard Bound materials belonging to       L320     1.80 hrs
                    Mr. Marple for production.

01/31/2013   RBS    Prepare materials for master set of supporting         L310     5.20 hrs
                    documents for Ally's presentation for Mr. Beck.

01/31/2013   JALB   Call with FTI (Renzi) and Mr. Lipps regarding          L120     0.70 hrs
                    securitization background.

01/31/2013   JALB   Prepare file memorandum regarding quality control      L120     0.30 hrs
                    staffing and review progress.

01/31/2013   JALB   Meet with Mr. Beck regarding Mr. Giertz's              L120     1.00 hrs
                    interview and key issues/topics.

01/31/2013   JALB   E-mails to Ms. Levitt (Morrison & Foerster)            L120     0.10 hrs
                    regarding revisions to letter on third party claims.
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01/31/2013   MMM    Review Ms. Steinhagen's background and                L120     2.00 hrs
                    determine potential topic list for her Examiner
                    interview.
01/31/2013   MMM    Conference with Mr. Beck regarding Steinhagen         L120     0.30 hrs
                    potential topics.

01/31/2013   DAB    Investigate third party document productions in       L320     0.20 hrs
                    examiner repository.

01/31/2013   DAB    E-mail Ms. Battle regarding third party productions   L120     0.10 hrs
                    in examiner repository.

01/31/2013   DAB    Comment on examiner confidentiality agreement         L120     0.40 hrs
                    for third party submission.

01/31/2013   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding comments on examiner confidentiality
                    agreement.
01/31/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)              L120     0.10 hrs
                    regarding examiner confidentiality agreement
                    issues.
01/31/2013   DAB    Review and comment on topic list for Ms.              L330     0.30 hrs
                    Steinhagen's interview.

01/31/2013   DAB    Conference with Ms. Mohler regarding likely           L120     0.20 hrs
                    topics for Ms. Steinhagen's interview.

01/31/2013   DAB    Conference with Ms. Battle regarding results of       L120     1.10 hrs
                    recent interviews and topics going forward.

01/31/2013   DAB    Analyze Ally submission to examiner on third          L330     0.40 hrs
                    party claims for mentions of upcoming witnesses.

01/31/2013   DAB    Analyze Kramer Levin claims presentation and          L120     2.40 hrs
                    associated materials.

01/31/2013   JRC    Conference with Mr. Beck regarding search for         L120     0.10 hrs
                    presentation relevant to examiner interviews in
                    Discovery Partner.
01/31/2013   JRC    Review documents in Discovery Partner in order to     L320     0.20 hrs
                    locate presentation relevant to examiner
                    interviews.
01/31/2013   JRC    Review examiner interview memoranda in order to       L120     0.30 hrs
                    prepare examiner witness materials for upcoming
                    witnesses.
01/31/2013   JRC    Review and analyze documents relating to Ms.          L320     1.10 hrs
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                    Lundsten in Discovery Partner in order to prepare
                    memorandum analyzing her relevance to examiner
                    investigation.
01/31/2013   JRC    Review and analyze documents relating to Mr.        L320     2.60 hrs
                    Scholtz in Discovery Partner in order to prepare
                    memorandum analyzing his relevance to examiner
                    investigation.
01/31/2013   JRC    Draft memorandum analyzing potential areas of       L210     1.20 hrs
                    inquiry for Mr. Scholtz's examiner interview.

01/31/2013   JRC    Revise deposition summary of Ms. Lundsten in        L330     0.80 hrs
                    order to prepare her examiner preparation
                    materials.
01/31/2013   JDR    Review and analyze Ms. Wiebe deposition and         L330     1.70 hrs
                    documents produced to the examiner in preparation
                    for witness interview.
01/31/2013   JDR    Draft outline of notes analyzing Ms. Wiebe          L330     2.20 hrs
                    deposition and documents produced to the
                    examiner in preparation for witness interview.
01/31/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.70 hrs
                    (Schulte Roth) regarding Cerberus data.

01/31/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.40 hrs
                    (Schulte Roth) regarding Regulatory Privilege.

01/31/2013   GNM    Working in Phase 3 Subproject configuring data      L320     0.50 hrs
                    for review.

01/31/2013   GNM    E-mail communications with Ms. Battle regarding     L120     0.30 hrs
                    EXAM00114765.

01/31/2013   GNM    Telephone communications with Ms. Tice              L120     0.30 hrs
                    (Morrison & Foerster) regarding EXAM00114765.

01/31/2013   GNM    Working in Discovery Partner database reviewing     L320     2.10 hrs
                    items for Regulatory Privilege.

01/31/2013   GNM    Telephone communications with Mr. Salerno, Mr.      L120     0.60 hrs
                    Brown, and Mr. Day (Morrison & Foerster) and
                    Mr. Glick (Kirkland & Ellis) regarding Regulatory
                    Privilege.
01/31/2013   GNM    E-mail communications with Ms. Gulley (DTI)         L120     0.10 hrs
                    regarding Cerberus data.

01/31/2013   AJM    Quality control review of documents withheld        L310     3.60 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/31/2013   AJM    Draft privilege log for documents produced in               L310        4.00 hrs
                    response to Examiner document requests, set
                    116/117.
01/31/2013   AJM    Draft e-mail to Ms. Gulley of Discovery Partner             L310        0.10 hrs
                    listing items in batch 116/117 that need images so
                    that they can be redacted and produced to the
                    Examiner.
01/31/2013   SCM    Telephone conference with Mr. Beck regarding                L120        0.10 hrs
                    research assignment regarding application of
                    Delaware veil-piercing law to multiple, tiered
                    subsidiaries.
01/31/2013   HLB    Perform quality control examiner review of batch            L120        3.50 hrs
                    "Phase 3-Set 1.002." Review for privileged
                    documents per quality control examiner protocol.
01/31/2013   AEG    Privilege log quality check regarding ResCap                L140        2.00 hrs
                    bankruptcy. [Continue to check for
                    privileged/partially privileged documents in batch]
                    (Eve/Brad privilege log)


                    TOTAL FEES FOR THIS MATTER                                           $406,076.50

EXPENSES

01/01/2013          Litigation Support Vendors - Lumen Legal (services for 12/17/12         $27,945.7
                    to 12/30/12) (798.45 hours X $ 35.00/hr = $ 27,945.75)                          5

01/01/2013          Litigation Support Vendors - Lumen Legal (services for 12/17/12         $23,587.8
                    to 12/30/12) (439.72 hours X $ 34.00/hr = $ 14,950.48 and                       8
                    227.30 hours X $ 38.00/hr = $ 8,637.40)

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Breakfast (JALB)-                     $6.81
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Snack (JALB) -                        $2.43
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Airfare (coach) -               $1,681.80
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Coffee (JALB) -                       $2.85
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials
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01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Lunch (JALB)-                           $6.18
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Lunch (JRC) -travel                     $6.12
                    to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Dinner (JALB &                         $40.00
                    JRC) - travel to Philadelphia, PA with Mr. Corcoran to meet with
                    Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Parking @ Port                         $17.00
                    Columbus - travel to Philadelphia, PA with Mr. Corcoran to
                    meet with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JRC-01/03/13) Out-of-Town Travel/Parking @ Port                           $9.04
                    Columbus - travel to Philadelphia, PA with Ms. Battle to meet
                    with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JRC-01/03/13) Out-of-Town Travel/Airfare (coach) -                  $831.80
                    travel to Philadelphia, PA with Ms. Battle to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Taxi (GMAC to                          $95.00
                    Airport) - travel to Philadelphia, PA with Mr. Corcoran to meet
                    with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Taxi (Airport to                  $112.51
                    GMAC) - travel to Philadelphia, PA with Mr. Corcoran to meet
                    with Ms. Hamzehpour to collect hard copy materialsur

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Airfare (coach) -                 $1,149.40
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Hotel- travel to New               $707.62
                    York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/7/13- travel                   $20.00
                    to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Breakfast 1/8/13-                       $20.00
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/8/13 - travel                  $20.00
                    to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Breakfast 1/9/13 -                      $20.00
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/9/13 - travel                  $20.00
                    to New York City for examiner interview
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01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Doorman Tips (8                         $8.00
                    boxes) - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Parking @ Port                         $50.00
                    Columbus - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Mileage to/from Port                    $6.78
                    Columbus (12 miles X .565) - travel to New York City for
                    examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Taxi (Airport to                       $45.92
                    Downtown) - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Car Service                            $81.00
                    (Downtown to Airport) - travel to New York City for examiner
                    interview

01/13/2013          Litigation Support Vendors - Lumen Legal (services for 12/31/12         $30,787.7
                    to 1/13/13) (879.65 hours X $ 35.00/hr = $ 30,787.75)                           5

01/13/2013          Litigation Support Vendors - Lumen Legal (services for 12/31/12         $44,486.9
                    to 1/13/13) (313.91 hours X $38.00/hr = $ 11,928.58, 668.53                     5
                    hours X $ 34.00/hr = $ 22,730.02 and 280.81 hours X $ 354.00/hr
                    = $ 9,828.35)

01/15/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                    $90.92

01/16/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                    $47.28

01/18/2013          Delivery Service/Messengers - Federal Express to Mr. Beck from                $82.03
                    Mr. Lipps

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Dinner 1/17/13 -                     $20.00
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Breakfast 1/18/13 -                  $18.73
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Dinner 1/18/13 -                      $8.01
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Breakfast 1/17/13 -                   $7.19
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Lunch 1/17/13 -                      $20.00
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Dinner 1/17/13 -                     $20.00
                    travel to Minneapolis, MN and New York City for examiner
                    interviews
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01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                    Airport) - travel to Minneapolis, MN for examiner interview of
                    Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                    Airport - MN) - travel to Minneapolis, MN and New York City
                    for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Airport to                     $50.00
                    Hotel - MN) - travel to Minneapolis, MN and New York City for
                    examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Airport to                     $47.25
                    Downtown - NY) - travel to Minneapolis, MN and New York
                    City for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Downtown to                    $46.60
                    Airport - NY) - travel to Minneapolis, MN and New York City
                    for examiner interviews

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Airfare - travel to            $1,273.80
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Hotel - travel to               $237.01
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN for examiner interview of
                    Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Airfare (coach) -              $2,136.70
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Hotel - travel to               $294.96
                    Minneapolis, MN and New York City for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN and New York City for
                    examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Mileage (12 miles                     $6.78
                    X .565) to/from Port Columbus - travel to Minneapolis, MN and
                    New York City for examiner interviews

01/22/2013          Delivery Service/Messengers - Federal Express to Janis                        $32.46
                    Pendleton from Ms. Sholl

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Airfare (coach) -             $1,314.80
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition
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01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Baggage Fee -                        $25.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Hotel - travel to               $237.01
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN for preparation of
                    examiner interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Breakfast 1/21/13                    $18.75
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Dinner 1/21/13 -                     $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Breakfast 1/22/13                    $20.00
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Lunch 1/22/13 -                      $17.29
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Dinner 1/22/13 -                     $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Taxi (Airport to                     $53.35
                    Hotel) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Taxi (Hotel to                       $47.35
                    Airport) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Airfare (coach) -               $1,140.40
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Hotel - travel to                $670.26
                    New York City for examiner interviews
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01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Breakfast 1/22/13 -                  $10.00
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Lunch 1/21/13 -                       $6.18
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Dinner 1/21/13 -                     $20.00
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Parking @ Port                       $42.00
                    Columbus - travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Mileage (12 miles                     $6.78
                    X .565) to/from Port Columbus - travel to New York City for
                    examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Airfare - AmEx                       $70.00
                    Charge fees X2 - travel to New York City for examiner
                    interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Taxi (Airport to                     $37.80
                    Downtown) - travel to New York City for examiner interviews

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Airfare (coach) -             $1,314.80
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Hotel - travel to              $237.01
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Wi-Fi - travel to                   $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Parking @ Port                      $34.00
                    Columbus - travel to Minneapolis, MN for preparation of
                    examiner interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Breakfast 1/24/13                    $6.33
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Dinner 1/24/13 -                    $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Breakfast 1/25/13                   $17.40
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Taxi (Airport to                    $50.80
                    Hotel) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview
      12-12020-mg Doc 3358-1 Filed 04/04/13 Entered 04/04/13 17:07:10                        Exhibit 1
  932 00064      Copy of January 2013 Examiner Invoice Pg 104#of53215
                                                       Invoice   105                             Page 103

01/25/2013                (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                          Airport) - travel to Minneapolis, MN for preparation of examiner
                          interview with Mr. Gietz and attend his interview

01/31/2013                Outside Copying - copies with slipsheets by ProFile Discovery            $1,663.54

                          TOTAL EXPENSES FOR THIS MATTER                                        $143,649.00


BILLING SUMMARY


         Winkler, A. Benjamin                          23.60 hrs    220.00 /hr         $5,192.00


         George, Amanda E.                             51.90 hrs    160.00 /hr         $8,304.00


         Molnar, Anthony J.                           118.00 hrs    210.00 /hr        $24,780.00


         Paul, Angela M.                               94.90 hrs    275.00 /hr        $26,097.50


         Beck, David A.                               117.30 hrs    280.00 /hr        $32,844.00


         Barthel, David J.                            161.00 hrs    210.00 /hr        $33,810.00


         Henry, Erik P.                                 0.60 hrs    160.00 /hr            $96.00


         Marty, Gretchen N.                           220.70 hrs    175.00 /hr        $38,622.50


         Buchanan, Heather L.                          83.70 hrs    240.00 /hr        $20,088.00


         Lipps, Jeffrey A.                            155.80 hrs    400.00 /hr        $62,320.00


         Battle, Jennifer A.L.                         77.50 hrs    300.00 /hr        $23,250.00


         Rhode, Jacob D.                               80.20 hrs    160.00 /hr        $12,832.00


         Sechler, Joel E.                             113.50 hrs    220.00 /hr        $24,970.00


         Corcoran, Jeffrey R.                          66.50 hrs    180.00 /hr        $11,970.00
    12-12020-mg Doc 3358-1 Filed 04/04/13 Entered 04/04/13 17:07:10     Exhibit 1
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      Wolf Sabatino , Lynanne            18.50 hrs   180.00 /hr     $3,330.00


      Boyle, Michael J.                  56.40 hrs   180.00 /hr    $10,152.00


      Mohler, Mallory M.                149.30 hrs   160.00 /hr    $23,888.00


      Beekhuizen, Michael N.              4.00 hrs   280.00 /hr     $1,120.00


      Samson, Robert B.                  31.70 hrs   100.00 /hr     $3,170.00


      Moeller, Steven C.                 27.10 hrs   225.00 /hr     $6,097.50


      Phillips, Segev                    83.90 hrs   220.00 /hr    $18,458.00


      Ibom, Tyler K.                     28.70 hrs   150.00 /hr     $4,305.00


      Sholl, Veronica L.                103.80 hrs   100.00 /hr    $10,380.00



   TOTAL FEES                          1868.60 hrs                $406,076.50

   TOTAL EXPENSES                                                 $143,649.00

   TOTAL CHARGES FOR THIS INVOICE                                 $549,725.50
